                                            Case 21-14978-abl          Doc 326   Entered 09/16/22 21:24:15    Page 1 of 282




                                        1   BRETT A. AXELROD, ESQ.                                 Electronically Filed September 16, 2022
                                            Nevada Bar No. 5859
                                        2   NICHOLAS A. KOFFROTH, ESQ.
                                            Admitted Pro Hac Vice
                                        3   FOX ROTHSCHILD LLP
                                        4   1980 Festival Plaza Drive, Suite 700
                                            Las Vegas, Nevada 89135
                                        5   Telephone: (702) 262-6899
                                            Facsimile: (702) 597-5503
                                        6   Email: baxelrod@foxrothschild.com
                                        7          nkoffroth@foxrothschild.com
                                            Counsel for W. Lawrence Patrick
                                        8

                                        9                                  UNITED STATES BANKRUPTCY COURT

                                       10                                        DISTRICT OF NEVADA

                                       11    In re                                             Case No. BK-21-14978-abl
1980 Festival Plaza Drive, Suite 700




                                       12
                                                 SILVER STATE BROADCASTING, LLC,               Jointly Administered with:
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)




                                       13                                                      Case No. BK-S-21-14979-abl
          (702) 262-6899




                                                     Affects Silver State Broadcasting, LLC    Case No. BK-S-21-14980-abl
                                       14            Affects Golden State Broadcasting, LLC
                                                     Affects Major Market Radio, LLC           Chapter 11
                                       15            Affects all Debtors
                                       16                                                      NOTICE OF RECEIVER’S
                                                                                               SUPPLEMENTAL ACCOUNTING
                                       17
                                                                                               [Hearing to be Separately Set, Pursuant to
                                       18                                                      Motion Under 11 U.S.C. § 543 and FED. R.
                                                                                               BANKR. P. 6002(b)]
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                                            Case 21-14978-abl               Doc 326        Entered 09/16/22 21:24:15              Page 2 of 282




                                        1              PLEASE TAKE NOTICE that W. Lawrence Patrick (the “Receiver”), the receiver of

                                        2   certain assets of the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”),
                                        3   hereby files this supplemental accounting (the “Supplemental Accounting”), pursuant to § 543 of
                                        4   title 11 of the United States Code (the “Bankruptcy Code”), 1 to supplement the Receiver’s
                                        5   Accounting Pursuant to Order Granting Debtor’s Emergency Motion for Turnover [Docket No. 115]
                                        6   [Docket No. 141] (the “Accounting”) and in response to the Bankruptcy Court’s Order Granting
                                        7   Debtor’s Emergency Motion for Turnover [Docket No. 115] (the “Turnover Order”) and the Order
                                        8   Granting in Part and Denying in Part Motion to Enforce [Docket No. 270] (the “Supplemental
                                        9   Accounting Order”). As set forth more fully in the Turnover Order, the Court ordered as follows:
                                       10                       [U]nder 11 U.S.C. § 543(b)(2), Receiver shall prepare, sign, and file
                                       11                       with this Court an accounting of any property of the Debtors, or
                                                                proceeds, product, offspring, rents or profits of such property that, at
1980 Festival Plaza Drive, Suite 700




                                       12                       any time came into the possession, custody, or control of the Receiver
    Las Vegas, Nevada 89135




                                                                (the “Accounting”). The Accounting required by this Order shall:
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       (702) 597-5503 (fax)




                                       13
          (702) 262-6899




                                                                1. Separately address each month during the period commencing with
                                       14                          the Receiver’s initial appointment on July 6, 2020 and ending with
                                       15                          the filing of the Accounting with this Court pursuant to this Order
                                                                   (the “Accounting Period”);
                                       16
                                                                2. For each month of the Accounting Period, separately disclose as to
                                       17                          each Debtor, at a minimum, all of the information required in UST
                                                                   Form 11-MOR (12/01/2021) Chapter 11 Monthly Operating
                                       18                          Report . . . ; and
                                       19
                                                                3. Disclose the status, as shown on the FCC’s Universal Licensing
                                       20                          System, of each and all of the radio broadcast licenses issued to the
                                                                   Debtors by the FCC at the end of each month covered by the
                                       21                          Accounting Period.
                                       22   Turnover Order at 3-4. Following the filing of the Accounting, the Supplemental Accounting Order

                                       23   further provides that “Mr. Patrick shall file a supplemental accounting, formatted to comply with the

                                       24   specific terms of the Turnover Order [ECF No. 115], on or before Friday, September 16, 2022.”

                                       25   Supplemental Accounting Order at 2 (emphasis omitted).

                                       26              PLEASE TAKE FURTHER NOTICE that the Receiver provides the following

                                       27

                                       28   1
                                                Unless otherwise set forth herein, all references to “Section” or “§” refer to a section of the Bankruptcy Code.
                                                                                                          1
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                                                Case 21-14978-abl        Doc 326       Entered 09/16/22 21:24:15             Page 3 of 282




                                        1   attachments that, collectively, constitute the Supplemental Accounting 2 and satisfy the specific terms

                                        2   of the Turnover Order as modified by the Supplemental Accounting Order: (i) the FCC Status from

                                        3   Initiation to Termination of Receivership (the “FCC Status Report”), attached hereto as Exhibit 1,

                                        4   chronologically setting forth the status of each of the Debtor’s licenses with the Federal
                                        5   Communications Commission (the “FCC”) during the Accounting Period and any modifications
                                        6   thereto; (ii) the Chapter 11 Monthly Operating Reports (the “Operating Reports”) prepared by the
                                        7   Receiver for each Debtor for each month during the Accounting Period along with the General
                                        8   Global Notes and Statement of Limitations, Methodology and Disclaimers Regarding the Receiver’s
                                        9   Supplemental Accounting and Operating Reports (the “Global Notes”), attached hereto as Exhibit
                                       10   2; and (iii) the execution version of that certain Local Programming and Marketing Agreement (the
                                       11   “LMA”) by and between W. Lawrence Patrick and VCY America, Inc. dated March 15, 2021,
1980 Festival Plaza Drive, Suite 700




                                       12   attached hereto as Exhibit 3.
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)




                                       13            PLEASE TAKE FURTHER NOTICE that, in support of the Supplemental Accounting,
          (702) 262-6899




                                       14   including, but not limited to, the FCC Status Report, the Operating Reports, the Global Notes, and
                                       15   the LMA, the Receiver respectfully refers to, and as appropriate incorporates herein and therein by
                                       16   this reference: (i) the Accounting; (ii) the Request for Judicial Notice in Support of Emergency
                                       17   Motion to Excuse Turnover in Favor of Receiver and to Dismiss/Abstain, or, Alternatively, for Stay
                                       18   Relief and/or Conversion [Docket No. 47 (the “RJN”); (iii) the Request for Judicial Notice in Support
                                       19   of Receiver’s Accounting Pursuant to Order Granting Debtor’s Emergency Motion for Turnover
                                       20   [Docket No. 115] [Docket No. 142] (the “Supplemental RJN”); (iv) the Declaration of W. Lawrence
                                       21   Patrick in Support of Receiver’s Accounting Pursuant to Order Granting Debtor’s Emergency
                                       22   Motion for Turnover [Docket No. 115] [Docket No. 148] (the “Patrick Declaration”); (v) the excerpts
                                       23   from the deposition transcript (the “Deposition Transcript”) attached to the Declaration of Nicholas
                                       24   A. Koffroth [Docket No. 198] (the “Koffroth Declaration”); and (vi) the Declaration of W. Lawrence
                                       25   in Support of the Supplemental Accounting filed concurrently herewith (the “Supplemental Patrick
                                       26   Declaration”).
                                       27
                                            2
                                             Unless otherwise defined therein, all capitalized terms used in the attachments to this Supplemental Accounting shall
                                       28   have the same definitions set forth in this notice.
                                                                                                      2
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                                        1           DATED this 16th day of September 2022.

                                        2                                         FOX ROTHSCHILD LLP
                                        3
                                                                                  By:         /s/ Brett A. Axelrod
                                        4                                               BRETT A. AXELROD, ESQ.
                                                                                        Nevada Bar No. 5859
                                        5                                               NICHOLAS A. KOFFROTH, ESQ.
                                                                                        Appearing Pro Hac Vice
                                        6
                                                                                        1980 Festival Plaza Drive, Suite 700
                                        7                                               Las Vegas, Nevada 89135
                                                                                        Counsel for W. Lawrence Patrick
                                        8

                                        9

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                                       11
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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     EXHIBIT 1
  (FCC Operational Status)
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                  FCC Status from initiation to termination of Receivership
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      Case 21-14978-abl       Doc 326     Entered 09/16/22 21:24:15       Page 7 of 282




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           Exhibit 2
               (Global Notes)
                                            Case 21-14978-abl          Doc 326   Entered 09/16/22 21:24:15    Page 9 of 282




                                        1   BRETT A. AXELROD, ESQ.                                 Electronically Filed September 16, 2022
                                            Nevada Bar No. 5859
                                        2   NICHOLAS A. KOFFROTH, ESQ.
                                            Admitted Pro Hac Vice
                                        3   FOX ROTHSCHILD LLP
                                        4   1980 Festival Plaza Drive, Suite 700
                                            Las Vegas, Nevada 89135
                                        5   Telephone: (702) 262-6899
                                            Facsimile: (702) 597-5503
                                        6   Email: baxelrod@foxrothschild.com
                                        7          nkoffroth@foxrothschild.com
                                            Counsel for W. Lawrence Patrick
                                        8

                                        9                                  UNITED STATES BANKRUPTCY COURT

                                       10                                        DISTRICT OF NEVADA

                                       11    In re                                             Case No. BK-21-14978-abl
1980 Festival Plaza Drive, Suite 700




                                       12
                                                 SILVER STATE BROADCASTING, LLC,               Jointly Administered with:
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)




                                       13                                                      Case No. BK-S-21-14979-abl
          (702) 262-6899




                                                     Affects Silver State Broadcasting, LLC    Case No. BK-S-21-14980-abl
                                       14            Affects Golden State Broadcasting, LLC
                                                     Affects Major Market Radio, LLC           Chapter 11
                                       15            Affects all Debtors
                                       16                                                      GENERAL GLOBAL NOTES AND
                                                                                               STATEMENT OF LIMITATIONS,
                                       17                                                      METHODOLOGY AND DISCLAIMERS
                                                                                               REGARDING THE RECEIVER’S
                                       18                                                      SUPPLEMENTAL ACCOUNTING AND
                                                                                               OPERATING REPORTS
                                       19

                                       20                                                      [Hearing to be Separately Set, Pursuant to
                                                                                               Motion Under 11 U.S.C. § 543 and FED. R.
                                       21                                                      BANKR. P. 6002(b)]
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                                        1                                                     I.

                                        2                    GENERAL NOTES AND STATEMENT OF LIMITATIONS,

                                        3            METHODOLOGY AND DISCLAIMERS REGARDING THE RECEIVER’S
                                        4                 SUPPLEMENTAL ACCOUNTING AND OPERATING REPORTS
                                        5           On July 6, 2020, the United States District Court for the Central District of California (the
                                        6   “District Court”) entered the Order Appointing W. Lawrence Patrick as Receiver in Aid of Post-
                                        7   Judgment Execution (the “District Court Receivership Order”) in the case captioned WB Music Corp.,
                                        8   et al. v. Royce International Broadcasting Corp., et al., Case No. 5:16-cv-00600-JGB-SP (the
                                        9   “District Court Case”). See RJN, Ex. N. Pursuant to the District Court Receivership Order, the
                                       10   District Court appointed W. Lawrence Patrick (the “Receiver”) as receiver over the “radio-stations-
                                       11   related assets for radio stations KFRH-FM, KREV-FM, and KRCK-FM” (collectively, the “Radio
1980 Festival Plaza Drive, Suite 700




                                       12   Stations”) owned by Silver State Broadcasting, LLC (“Silver State”), Golden State Broadcasting,
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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                                       13   LLC (“Golden State”), and Major Market Radio, LLC (“Major Market,” and, together with Silver
          (702) 262-6899




                                       14   State and Golden State, the “Debtors”). See id. The Receivership Order provides, inter alia, as
                                       15   follows, pursuant to FED. R. CIV. P. 66 and 69 and CAL. CIV. P. CODE § 708.620:
                                       16                  B.       The Receiver shall have the power and authority to take charge
                                                           of and manage Defendants’ Radio Stations’ assets, businesses, and
                                       17                  affairs, to bring and defend actions in his own name, as Receiver; to
                                                           take and keep possession of Defendants’ Radio Stations’ assets; to
                                       18
                                                           receive rents, and collect accounts receivable and other debts; to take
                                       19                  all steps necessary to operate and manage Defendants’ Radio Stations,
                                                           including the authority to appoint an agent or agents under him, and to
                                       20                  do all other acts which may be necessary and proper to operate and
                                                           manage the stations;
                                       21
                                                                                            ***
                                       22
                                                           D.      The Receiver is authorized to: solicit offers for the sale of
                                       23                  Defendants’ Radio Stations assets, including but not limited to the
                                                           broadcast licenses issued by the Federal Communications Commission
                                       24                  for Defendants’ Radio Stations (the “FCC Licenses”), according to
                                                           normal and customary industry practices; and report to the Court any
                                       25                  firm offers for purchase, with recommendations regarding the offer.
                                       26                                                   ***
                                       27                  I.     The fees of the Receiver will be Seven Thousand Five Hundred
                                                           Dollars ($7,500.00) per month plus reasonable travel expenses to the
                                       28
                                                                                              1
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                                                           stations. These fees shall be considered operating expenses to be
                                        1                  deducted from the gross receivables of the respective stations
                                        2   Id. at 2-3.
                                        3           On October 22, 2020, the Superior Court of the State of California, County of San Francisco

                                        4   (the “State Court”) entered the Order Granting Bellaire Tower Homeowners Association’s Ex Parte

                                        5   Application for Appointment of Receiver (the “State Court Receivership Order” and, together with the
                                        6   District Court Receivership Order, the “Receivership Orders”) in the case captioned Bellaire Towers
                                        7   Homeowners Association v. Golden State Broadcasting LLC, Case No. CGC-21-526191 (the “State
                                        8   Court Case”). See RJN, Ex. O. Pursuant to the State Court Receivership Order, the District Court
                                        9   appointed the Receiver as receiver “to enforce the July 22, 2014 judgment entered in favor of Bellaire
                                       10   in this action consistent with the terms and conditions of his July 6, 2020 appointment as receiver by
                                       11   the District Court in the case entitled WB Music Corp., et al. v. Royce International Broadcasting
1980 Festival Plaza Drive, Suite 700




                                       12   Corp., et al., U.S.D.C. (C.D. Cal.) Case No. 5:16-cv-00600-JGB (SPx). A copy of the July 6, 2020
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)




                                       13   order is attached and incorporated by reference.” Id.
          (702) 262-6899




                                       14           On October 19, 2021 (the “Petition Date”), the Debtors filed voluntary petitions for relief
                                       15   under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
                                       16   Nevada (the “Bankruptcy Court”), which are jointly administered under the above-captioned case
                                       17   (the “Bankruptcy Cases”). On February 7, 2022, the Bankruptcy Court entered the Order Granting
                                       18   Debtor’s Emergency Motion for Turnover [Docket No. 115] (the “Turnover Order”), which, inter
                                       19   alia, required the Receiver to turn over property of the receivership estate to the Debtors and account
                                       20   for “any property of the Debtors, or proceeds, product, offspring, rents or profits of such property
                                       21   that, at any time came into the possession, custody, or control of the Receiver.” Turnover Order at 3.
                                       22   On March 11, 2022, the Receiver filed the Receiver’s Accounting Pursuant to Order Granting
                                       23   Debtor’s Emergency Motion for Turnover [Docket No. 115] [Docket No. 141] (the “Accounting”).
                                       24   As set forth more fully in the attached notice, on August 9, 2022, the Court entered the Order Granting
                                       25   in Part and Denying in Part Motion to Enforce [Docket No. 270] (the “Supplemental Accounting
                                       26   Order”) requiring a further supplemental accounting utilizing Chapter 11 Monthly Operating Reports
                                       27   (the “Operating Reports”) prepared by the Receiver for each Debtor for each month between July 6,
                                       28   2020 and the filing of the Accounting with the Bankruptcy Court (the “Accounting Period”). See
                                                                                           2
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                                        1   Turnover Order at 3; Supplemental Accounting Order at 2.

                                        2           The Operating Reports attached to this Supplemental Accounting were prepared, pursuant to

                                        3   § 543 and Rule 6002 of the Federal Rules of Bankruptcy Procedure, as modified by the Turnover

                                        4   Order and Supplemental Accounting Order, by the Receiver with unaudited information available as

                                        5   of the date of the Supplemental Accounting. The Operating Reports do not purport to represent

                                        6   financial statements prepared in accordance with generally accepted accounting principles in the

                                        7   United States (“GAAP”) and they are not intended to be fully reconciled to the Debtors’ financial

                                        8   statements.
                                        9           The Operating Reports have been signed by the Receiver. In reviewing and signing the
                                       10   Operating Reports, the Receiver relied upon the efforts, statements, and representations of the
                                       11   Receiver’s other professionals. These authorized representatives have not (and could not have)
1980 Festival Plaza Drive, Suite 700




                                       12   personally verified the accuracy of each such statement and representation, including, for example,
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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                                       13   statements and representations concerning amounts owed to creditors.
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                                       14           Moreover, the Receiver obtained limited financial information from the Debtors during the
                                       15   prepetition pendency of the Receivership as detailed more fully in the State Court Case and District
                                       16   Court Case, including, but not limited to, those documents presented to the Bankruptcy Court in the
                                       17   RJN and Supplemental RJN. Additionally, the Receivership Orders necessarily limited the duties
                                       18   and obligations of the Receiver and, as such, the extent of financial information available to the
                                       19   Receiver is further limited beyond the nondisclosure issues raised by the Receiver in the State Court
                                       20   Case and District Court Case.
                                       21           These General Global Notes and Statement of Limitations, Methodology and Disclaimer
                                       22   Regarding the Receiver’s Supplemental Accounting and Operating Reports (the “General Notes”) are
                                       23   incorporated by reference in, and comprise an integral part of, each of the Operating Reports attached
                                       24   hereto, and should be referred to and reviewed in connection with any review of the Operating
                                       25   Reports.
                                       26   ///
                                       27   ///
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                                        1                                                      II.

                                        2                                             GENERAL NOTES

                                        3           1.     Reservation of Rights. The history of the Receiver’s efforts to obtain turnover of the
                                        4   Debtors’ assets and financial information during the pendency of the receiverships with respect to the
                                        5   Debtors are fully detailed in the record of the District Court Case and the State Court Case, which
                                        6   necessarily limits the amount of information available to the Receiver to prepare the Operating
                                        7   Reports. As set forth in the Turnover Order, the Operating Reports specifically reflect “any property
                                        8   of the Debtors, or proceeds, product, offspring, rents or profits of such property that, at any time came
                                        9   into the possession, custody, or control of the Receiver.” Turnover Order at 3 (emphasis added).
                                       10   Therefore, the Operating Reports necessarily only reflect information and assets that came into the
                                       11   possession, custody, or control of the Receiver, and do not (and could not) reflect information or
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                                       12   assets that did not come into the possession, custody, or control of the Receiver. Moreover, although
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                                       13   the Receiver made every reasonable effort to ensure that the Operating Reports are as accurate and
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                                       14   complete as possible, based on the information that was available to the Receiver at the time of
                                       15   preparation, subsequent information or discovery may result in material changes to these Operating
                                       16   Reports, and inadvertent errors or omissions may have occurred. Because the Operating Reports
                                       17   contain unaudited information, which is subject to further review, verification, and potential
                                       18   adjustment, these Operating Reports may be inaccurate and/or incomplete.
                                       19           2.     No Waiver. Nothing contained in the Operating Reports, or these General Notes shall
                                       20   constitute an admission or a waiver of any of the Debtors’ rights to assert any claims or defenses with
                                       21   respect to any claim, or an admission or waiver with respect to the amount, validity, extent, priority,
                                       22   or ownership of any asset or liability.
                                       23           3.     Reporting Date. All asset and liability information, except where otherwise noted, is
                                       24   provided for the Accounting Period only.
                                       25           4.     Estimates and Assumptions. The preparation of the Operating Reports required the
                                       26   Receiver to make estimates and assumptions that affected the reported amounts of assets and
                                       27   liabilities, the disclosure of contingent assets and liabilities, and the reported amounts of revenue and
                                       28   expense. Actual results could differ materially from these estimates and, as a result of substantial
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                                        1   nondisclosures by the Debtors, their parent entity Royce International Broadcasting, Inc. (“Royce”),

                                        2   and their insider, Edward R. Stolz (“Mr. Stolz”), may not disclose all relevant material information
                                        3   concerning the Debtors’ accrued assets and liabilities during the Accounting Period.
                                        4           5.     Use of Monthly Operating Report Forms. As set forth in the Turnover Order and
                                        5   as requested by the Debtors, the Receiver prepared the Operating Reports using UST Form 11-MOR
                                        6   (12/01/2021) Chapter 11 Monthly Operating Report (the “Operating Report Form”). The Operating
                                        7   Report Forms are promulgated by the United States Trustee Program, pursuant to the rule entitled
                                        8   Uniform Periodic Reports in Cases Filed Under Chapter 11 of Title 11, published at 28 C.F.R. § 58.8
                                        9   (the “Final Rule”), effective June 21, 2021. As set forth in the Final Rule, “[t]he requirements of this
                                       10   section apply to all chapter 11 debtors who do not qualify as a ‘small business debtor’ under 11
                                       11   U.S.C. 101(51D).” 28 C.F.R. § 58.8(a); see also 28 C.F.R. § 58.8(b) (requiring that the reports be
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                                       12   prepared by “[d]ebtors-in-possession (debtor) and chapter 11 trustees”). As such, the Operating
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                                       13   Report Form requires information not relevant to entities that are not debtors-in-possession or trustees
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                                       14   under chapter 11 of the Bankruptcy Code, including, but not limited to: (i) length of time the case has
                                       15   been pending; (ii) cash receipts, disbursements, and profitability since the date of an order for relief;
                                       16   (iii) payments on prepetition debt; and (iv) information concerning payment of quarterly fees to the
                                       17   United States Trustee. See 28 C.F.R. § 58.8(b). As such, the Operating Reports have been modified,
                                       18   as deemed appropriate by the Receiver, and certain responses have been identified as either
                                       19   inapplicable or unknowable by the Receiver in his good faith effort to comply substantially with the
                                       20   Turnover Order in light of the specific purposes for the Operating Report Form and the information
                                       21   requested therein. Moreover, the Operating Report Form, by design, contains certain fillable fields
                                       22   that cannot easily be modified to ensure accurate reporting for debtors-in-possession and trustees
                                       23   under chapter 11 of the Bankruptcy Code to the United States Trustee. In light of the modified
                                       24   purpose of the Operating Report Form for purposes of the Turnover Order and Supplemental
                                       25   Accounting Order, the Receiver has modified certain fields or included alphanumeric responses not
                                       26   otherwise permitted in the Operating Report Form, as promulgated by the United States Trustee, to
                                       27   ensure the most accurate response possible. Moreover, in light of the aggregate nature of certain of
                                       28   the asset and liability fields in the Operating Report Form and the unknown or unknowable nature of
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                                        1   a number of the Debtors’ assets and liabilities based on, inter alia, nondisclosures to the Receiver

                                        2   during the pendency of the receiverships, certain of the aggregate amounts may be listed as

                                        3   “unknown” or “undetermined” even if certain sub-categories of assets or liabilities are known or

                                        4   estimated.

                                        5           6.     Asset Presentation and Valuation. The Receiver does not have current market

                                        6   valuations for all of the Debtors’ assets. Although the Debtors have purported to prepare their own
                                        7   asset valuations, the Receiver cannot independently confirm their accuracy and did not obtain
                                        8   sufficient funds in the receivership estate to obtain current market valuations for all of the Debtors’
                                        9   assets. Wherever possible, the Receiver has provided his best estimate of fair market value based on
                                       10   marketing certain of the Debtors’ assets. When necessary, the Receiver has indicated that the value
                                       11   of certain assets are “unknown” or “undetermined.” Amounts ultimately realized may vary from
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                                       12   whatever value was ascribed and such variance may be material. Accordingly, the Receiver reserves
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                                       13   all of his rights to amend, supplement, or adjust the value of each asset set forth herein.
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                                       14           7.     Liabilities. Certain of the liabilities are set forth as unknown, contingent, and/or
                                       15   unliquidated at this time. Accordingly, the Operating Reports to not accurately reflect the aggregate
                                       16   amount of the Debtors’ total liabilities.
                                       17           8.     Accounts Payable and Disbursements System. The financial affairs and business
                                       18   of the Debtors were not disclosed in their entirety to the Receiver during the pendency of the
                                       19   receiverships, as set forth more fully in the State Court Case and District Court Case. Moreover, the
                                       20   Receiver understands that Royce, Mr. Stolz, or others unrelated to the receiverships made or may
                                       21   have made payments or disbursements on behalf of the Debtors during the pendency of the
                                       22   receivership that were not disclosed to the Receiver.
                                       23           9.     Intercompany Claims. Consistent with the Receiver’s understanding of the Debtors’
                                       24   pre-receivership practice, the Receiver maintained a single account on behalf of the Debtors’
                                       25   receivership estates and accounted for joint assets or liabilities of the Debtors by book entry reflected
                                       26   in the Operating Reports.
                                       27           10.    Recharacterization. The Receiver has made a reasonable effort to characterize,
                                       28   classify, categorize, or designate the claims, assets, executory contracts, unexpired leases, and other
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                                        1   items reported in the Operating Reports correctly. Due to the limited disclosures provided to the

                                        2   Receiver concerning the Debtors’ businesses, however, the Receiver may have improperly

                                        3   characterized, classified, categorized, or designated certain items. Further, the designation of a

                                        4   category is not meant to be wholly inclusive or descriptive of the rights or obligations represented by

                                        5   such item.

                                        6           11.    Undetermined or Unknown Amounts.                 The description of an amount as

                                        7   “undetermined” or “unknown” is not intended to reflect upon the materiality of such amount. Certain
                                        8   amounts may be clarified over the period of the bankruptcy proceedings or through further disclosures
                                        9   by the Debtors, Royce, or Mr. Stolz, and certain amounts may depend on contractual obligations not
                                       10   disclosed to the Receiver.
                                       11           12.    Certain Funds and Expenses Not Subject to the Receivership. The Debtors’
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                                       12   monthly operating reports filed in the Bankruptcy Cases at least initially reflected—before the
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                                       13   establishment of debtor-in-possession accounts—that the Debtors managed funds and expenses
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                                       14   through a single or multiple accounts held in the name of their parent-entity, Royce, that may or may
                                       15   not have been accounted for by book entries or other accounting methodology. Moreover, the
                                       16   Debtors’ prepetition and postpetition conduct and disclosures confirmed that Mr. Stolz has loaned or
                                       17   gifted significant sums of money to the Debtors prereceivership, prepetition, and postpetition. The
                                       18   Receiver is not aware of how or whether the Debtors maintained an accounting of these transactions
                                       19   with Mr. Stolz. Accordingly, certain transactions by Royce, Mr. Stolz, or others during the pendency
                                       20   of the Receivership are not in the possession, custody, or control of the Receiver and may be omitted
                                       21   from the Operating Reports, even if material.
                                       22           13.    Under that certain Asset Purchase Agreement dated December 28, 2020 (the “APA”)
                                       23   between the Receiver and VCY America, Inc. (“VCY”), VCY placed a deposit of $600,000 (the
                                       24   “Deposit”) into an escrow with Truist Bank. See Claim No. 8-1, Ex. B (APA, § 1.6). Pursuant to the
                                       25   terms of the APA and any related agreements, including, but not limited to, the Escrow Agreement
                                       26   (as that term is defined in the APA), the Deposit was intended to be credited against purchase price
                                       27   upon the closing of the transaction. See id. The transaction set forth in the APA did not close and
                                       28   the funds are not in the possession, custody, or control of the Receiver and is thus not reported as an
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                                        1   asset of the receivership estate or the Debtors in the Operating Reports.

                                        2           14.    Method of Accounting. Due to the nondisclosures set forth in the record of the State

                                        3   Court Case and District Court Case, the Receiver never gained access to (or obtained only limited
                                        4   access to), amongst other things, (i) the Radio Stations facilities, including the studio offices and
                                        5   transmitter sites; (ii) the Debtors’ financial information, including any balance sheets or income
                                        6   statements from any previous years or the time period of the receivership; (iii) any information
                                        7   relating to any assets owned by the Debtors for the operation of the Radio Stations, including accounts
                                        8   receivable reports, asset inventories, or location, operating status, or depreciation schedules of any of
                                        9   the Debtors’ equipment; (iv) information regarding the Debtors’ monthly liabilities, including lease
                                       10   payments, utilities, and other general and administrative expenses, and information related to all
                                       11   accrued liabilities that existed before the appointment of the Receiver; (v) information regarding
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                                       12   Debtors’ current employees, payroll records, insurance records, or any other financial information
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                                       13   relating to employees; and (vi) tax records, or any tax documents or information that would assist the
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                                       14   Receiver in compiling any tax documents needed to address any past due or other tax liabilities that
                                       15   existed during the Accounting Period. Accordingly, the Receiver is only able to account for the very
                                       16   limited revenues, expenses, accounts receivable, and liabilities of which the Receiver had knowledge
                                       17   during Accounting Period.
                                       18           15.    Employees. The Receiver was not aware of the complete number of employees of the
                                       19   Debtors at any time during the pendency of the receivership. This is due in part to a number of factors:
                                       20   (i) Royce appears to have employed certain individuals either as contractors or employees that
                                       21   undertook duties related to the operation of the Radio Stations however the Receiver never obtained
                                       22   a list of employees (if any); (ii) the Receiver was precluded from visiting the offices or other facilities
                                       23   of the Debtors during much of the receivership; and (iii) upon visiting the Radio Station facilities, the
                                       24   Receiver only met two individuals: one in the Las Vegas, Nevada facilities and one in the Mecca,
                                       25   California facilities who had unclear job roles and responsibilities.
                                       26           16.    James Palomares. Mr. Palomares was formerly the operations manager of the
                                       27   Debtors’ Radio Stations and operated from the Silver State facilities in Las Vegas, Nevada. The
                                       28   Receiver met Mr. Palomares on several occasions and Mr. Palomares informally provided
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                                        1   information concerning the receivership estate’s assets and liabilities (to the extent possible) and

                                        2   provided transition support to VCY under the LMA (each as defined below). Although it was unclear

                                        3   whether Mr. Palomares was employed by the Radio Stations or Royce, the Receiver obtained an order

                                        4   authorizing a $40,000 stay bonus for Mr. Palomares’s assistance (and based on his understanding that

                                        5   Royce was not paying Mr. Palomares) on August 26, 2021. See RJN, Ex. BB (Order at 4); see also

                                        6   District Court Case, Docket No. 543 (Accounting, Ex. 10), 547 (Receiver’s motion requesting

                                        7   payment of “stay bonus”). The stay bonus was not paid to Mr. Palomares during the pendency of the

                                        8   receivership because the receivership estate did not have sufficient funds with which to pay the bonus

                                        9   until a sale was completed.

                                       10           17.    Albert Ramirez. Mr. Ramirez was the sole staffer that formerly operated the Major

                                       11   Market facility located in Palm Desert, California. Like Mr. Palomares, it was unclear whether Mr.
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                                       12   Ramirez was employed by the Radio Stations or Royce. However, in light of Mr. Ramirez’s
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                                       13   assistance with the operation and preparation of Major Market for sale and the LMA (as defined
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                                       14   below) transition, the Receiver obtained an order authorizing a $20,000 stay bonus for Mr. Ramirez’s

                                       15   assistance (and based on his understanding that Royce was not paying Mr. Ramirez) on August 26,

                                       16   2021. See RJN, Ex. BB (Order at 4); see also District Court Case, Docket No. 547 (Receiver’s motion

                                       17   requesting payment of “stay bonus”). The stay bonus was not paid to Mr. Ramirez during the

                                       18   pendency of the receivership because the receivership estate did not have sufficient funds with which

                                       19   to pay the bonus until a sale was completed.

                                       20           18.    The Local Marketing Agreement. On or about March 15, 2021, the Receiver entered

                                       21   into that certain Local Programming and Marketing Agreement (the “LMA”) with VCY. A copy of
                                       22   the LMA is attached to the Supplemental Accounting as Exhibit 3. As set forth in the LMA, as
                                       23   approved by the District Court, VCY was authorized to and did collect certain accounts receivable of
                                       24   the Radio Stations and paid certain expenses on behalf of the Radio Stations as follows in exchange
                                       25   for a monthly fee:
                                       26                  3.     Advertising; Collection of Accounts Receivable. During the
                                                           Term, Programmer [VCY] will be exclusively responsible for the sale
                                       27                  of advertising on the Stations and for the collection of accounts
                                                           receivable (“Receivables”) arising therefrom, and shall be entitled to
                                       28
                                                           all such Receivables of the Stations. Any Receivables or other
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                                                           revenues accrued prior to the Commencement Date, regardless of when
                                        1                  paid or collected, shall belong to the Licensee [Receiver][.]
                                        2                  4.      Payments. For the broadcast of the Programs, and other
                                                           benefits made available to Programmer pursuant to this Agreement,
                                        3
                                                           during the Term, Programmer will pay Licensee in accordance with the
                                        4                  terms set forth on Schedule A attached hereto. To the extent
                                                           reasonably necessary to perform this Agreement, during the Term,
                                        5                  Licensee shall provide Programmer with the benefits of any of the
                                                           Stations’ contracts and agreements and Programmer shall perform the
                                        6                  obligations if Licensee thereunder, to the extent of the benefits
                                        7                  received.
                                                                                             ***
                                        8
                                                           7.       Expenses. During the Term, Programmer will be responsible
                                        9                  for (a) the salaries, taxes, insurance and related costs for all personnel
                                                           used in the production of the Programs supplied to Licensee, and (b)
                                       10                  the costs of delivering the Programs to Licensee. Licensee will pay for
                                       11                  the maintenance of all studio and transmitter equipment and all other
                                                           operating costs required to be paid to maintain the Stations’ broadcast
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                                       12                  operations in accordance with FCC Rules, policies and applicable law.
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                                                           Licensee will also pay for all utilities supplied to its main studio and
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                                                           transmitter site. Licensee will provide all personnel necessary for the
                                                           broadcast transmission of the Programs (once received at its transmitter
                                       14
                                                           site) and will be responsible for the salaries, taxes, insurance and
                                       15                  related costs for all such personnel. Licensee will maintain throughout
                                                           the Term appropriate liability, fire and extended coverage insurance on
                                       16                  the Stations’ main studio and transmitting sites in such amounts as it
                                                           reasonably deems appropriate.
                                       17

                                       18   Ex. 3 (LMA, §§ 3, 4, 7). As such, the receivables and expenses collected or paid by VCY are not in
                                       19   the possession, custody, or control of the Receiver and may be omitted from the Operating Reports.
                                       20   VCY has separately filed proofs of claims against the Debtors which may provide further information
                                       21   concerning VCY expenses; however, the Receiver does not have personal knowledge of such
                                       22   expenses and financial or other information related to such expenses are not in the Receiver’s
                                       23   possession, custody, or control. See, e.g., Claim No. 8-1.
                                       24   ///
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                                       27   ///
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                                        1                                                                III.

                                        2       ASSUMPTIONS AND DISCLAIMERS USED TO PREPARE RESPONSES TO SPECIFIC

                                        3                           OPERATING REPORT QUESTIONS OR LINE ITEMS
                                        4   A.       Part 1: Cash Receipts and Disbursements
                                        5            a. Cash Balance Beginning of Month. As set forth more fully in the District Court Record,
                                        6   the Debtors admitted that they did not turn over access to the Debtors’ bank accounts. See Suppl.
                                        7   RJN, Ex. H (Status report, Ex. 1 at 1). Instead, the Debtors asserted that “[t]he proceeds of the Royce
                                        8   International accounts, funded by Royce receipts, have been converted to a cashier’s check in the
                                        9   amount of $1,041.01” and provided to the Receiver on or about March 2, 2021. Id. The Receiver,
                                       10   therefore, reflects by book entry a $347.00 receipt for each Debtor in March 2021 for the first and
                                       11   only receipt of pre-receivership bank account assets from the Debtors. Accordingly, the Receiver
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                                       12   does not reflect a cash balance until the September 2020 Operating Report reflecting a book entry for
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                                       13   a $5,000 payment from Mr. Stolz to the receiver 1 based on a contempt sanction award entered by the
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                                       14   District Court with the only subsequent cash receipts relating to the fees paid by VCY under the LMA.
                                       15   See RJN, Ex. Q (Contempt Order at 3).
                                       16            e. Disbursements made by third party for the benefit of the estate. In light of the limited
                                       17   cash eventually turned over by the Debtors and the Debtors’ lack of operations, the Receiver made
                                       18   certain payments on behalf of the Debtors’ estates from non-receivership estate funds. These
                                       19   payments were ultimately reimbursed once the Debtors obtained receipts from VCY for the payments
                                       20   under the LMA.
                                       21   B.       Part 2: Asset and Liability Status
                                       22            a. Accounts Receivable (Total Net of Allowance). The Receiver is not aware of the Debtors’
                                       23   receivables accruing beyond the receivables owing to the Debtors under the LMA, and, thus, has
                                       24   listed this line item as unknown initially.
                                       25
                                            1
                                              While this amount is recorded as a receivable, the order specifically provides that “Defendant Edward Stolz is hereby
                                       26   sanctions in the amount of $5,000 to compensate the Receiver for his costs incurred in these contempt proceedings,
                                            including, but not limited to, his travel costs, conference room rental costs for the Order to Show Cause hearing, and his
                                       27   attorneys’ fees incurred as a result of Stolz’s misconduct.” RJN, Ex. Q (Contempt Order at 3). Accordingly, these
                                            receivables have a restricted purpose, pursuant to the District Court order and the Receiver reserves all rights with respect
                                       28   thereto.
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                                        1           b. Accounts Receivable Over 90 Days Outstanding (Net of Allowance). The Receiver is

                                        2   not aware of the Debtors’ receivables accruing beyond the receivables owing to the Debtors under
                                        3   the LMA, and, thus, has listed this line item as unknown initially.
                                        4           c. Inventory. The Receiver is not aware of any inventory, which is consistent with the
                                        5   Debtors’ schedules. See, e.g., Docket No. 28 (Schedule A/B, Part 5 at 2).
                                        6           d. Total Current Assets. The only significant assets of which the Receiver is aware are the
                                        7   Debtors’ FCC licenses. Postpetition, the Debtors’ produced tax returns for 2017 through 2019, which
                                        8   list as the Debtors’ assets only the FM Licenses and furniture with a reported tax cost of less than
                                        9   $600. See Koffroth Decl., Ex. A (Dep. Tr., Ex. H at SSB019, SSB051, SSB074). Following
                                       10   marketing of the Debtors’ assets in the District Court Case, the Receiver obtained a single offer from
                                       11   VCY for substantially all of the Debtors’ assets in the amount of $6 million. See, e.g., Claim No. 8-
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                                       12   1, Ex. B (APA, § 1.5) (reflecting $6 million purchase price). However, given the limited disclosures
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                                       13   to the Receiver and the Debtors’ disputes concerning the amount and value of the Debtors’ assets, the
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                                       14   Receiver has listed the total current assets as “unknown.” Moreover, the Debtors did not provide
                                       15   keys or other access materials necessary for the Receiver to account for all of the Debtors’ assets as
                                       16   of the outset of the receivership and, despite the Receiver’s independent efforts to visit and gain access
                                       17   to all offices, facilities, and transmitter sites, substantially limits the ability of the Receiver to form
                                       18   an opinion of value based on personal knowledge as of this Supplemental Accounting. See, e.g.,
                                       19   Suppl. RJN, Ex. Q (Status Report, Ex. 1 at 2-3).
                                       20           e. Total Assets. The only significant assets of which the Receiver is aware are the Debtors’
                                       21   FCC licenses. Postpetition, the Debtors’ produced tax returns for 2017 through 2019, which list as
                                       22   the Debtors’ assets only the FM Licenses and furniture with a reported tax cost of less than $600. See
                                       23   Koffroth Decl., Ex. A (Dep. Tr., Ex. H at SSB019, SSB051, SSB074). Following marketing of the
                                       24   Debtors’ assets in the District Court Case, the Receiver obtained a single offer from VCY for
                                       25   substantially all of the Debtors’ assets in the amount of $6 million. See, e.g., Claim No. 8-1, Ex. B
                                       26   (APA, § 1.5) (reflecting $6 million purchase price). However, given the limited disclosures to the
                                       27   Receiver and the Debtors’ disputes concerning the amount and value of the Debtors’ assets, the
                                       28   Receiver has listed the total current assets as “unknown.” Moreover, the Debtors did not provide
                                                                                              12
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                                        1   keys or other access materials necessary for the Receiver to account for all of the Debtors’ assets as

                                        2   of the outset of the receivership and, despite the Receiver’s independent efforts to visit and gain access

                                        3   to all offices, facilities, and transmitter sites, substantially limits the ability of the Receiver to form

                                        4   an opinion of value based on personal knowledge as of this Supplemental Accounting. See, e.g.,

                                        5   Suppl. RJN, Ex. Q (Status Report, Ex. 1 at 2-3).

                                        6           f. Postpetition Payables. This category assumes that it applies to post-receivership payables,

                                        7   rather than just postpetition payables as listed. The Debtors admitted that they did not provide payable
                                        8   information as of the outset of the receivership and, as of February 24, 2021, the Debtors still had not
                                        9   provided a comply accounting from January 1, 2019 to “present” and the Debtors had only just
                                       10   identified certain of their landlord and lease locations (which proved inaccurate). See, e.g., Suppl.
                                       11   RJN, Ex. Q (Status Report, Ex. 1 at 2-4). Moreover, as set forth above, VCY began paying for certain
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                                       12   expenses properly chargeable to VCY under the LMA.
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                                       13           g. Postpetition Payables Past Due (Excluding Taxes). This category assumes that it applies
          (702) 262-6899




                                       14   to post-receivership payables, rather than just postpetition payables as listed. The Debtors admitted
                                       15   that they did not provide payable information as of the outset of the receivership and, as of February
                                       16   24, 2021, the Debtors still had not provided a comply accounting from January 1, 2019 to “present”
                                       17   and the Debtors had only just identified certain of their landlord and lease locations (which proved
                                       18   inaccurate). See, e.g., Suppl. RJN, Ex. Q (Status Report, Ex. 1 at 2-4). Moreover, as set forth above,
                                       19   VCY began paying for certain expenses properly chargeable to VCY under the LMA.
                                       20           With the limited information available, the Receiver attempted to obtain a summary of accrued
                                       21   payables during the predating the receivership, which were submitted along with a request for
                                       22   payment in a motion to pay fees and expenses of the receivership estate. See District Court Case,
                                       23   Docket Nos. 453 (Accounting, Exs. 15-19); 457 (Fee Mot. at 9) (requesting the District Court
                                       24   authorize payment of approximately $1.3 million in claims). The following information identified by
                                       25   the Receiver in his accounting to the District Court is as follows based on information requests to
                                       26   certain entities identified by the Receiver (or assumed by the Receiver) to be creditors of the Debtors:
                                       27   ///
                                       28   ///
                                                                                                13
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                                                    x     Crown Castle: $970,224.68 related to Silver State, as of July 13, 2021, related to
                                        1                 Silver State’s transmitter site on Mount Ptosi, Las Vegas, Nevada as follows: (i)
                                        2                 $822,270.30 in licensing fees, tower rental, utilities, holdover tenancy, and late fees;
                                                          (ii) $136,176.00 in attorney’s fees; and (iii) $11,778.38. See District Court Case,
                                        3                 Docket No. 453 (Accounting, Ex. 15)

                                        4           x     Shah Management: $178,430.12 related to Major Market, as of July 7, 2021, related
                                                          to Major Market’s studios and offices in Palm Desert, California, which included lease
                                        5                 payments and fees that predated the receivership. See id. (Accounting, Ex. 16).
                                        6           x     Chuck Haas: $137,210.78 related to Golden State, as of August 1, 2020, related to
                                        7                 Golden State’s transmitter site in Alameda, California, which include lease and late
                                                          payments that predated the receivership. See id. (Accounting Ex. 17).
                                        8
                                                    x     Broadcast Music, Inc.: $85,489.16 related to the Debtors, jointly, as of June 30,
                                        9                 2021, as follows: (i) $40,067.74 related to unpaid licensing fees, late payment charges,
                                                          arbitration fees and interest through December 31, 2016, pursuant to a radio station
                                       10                 license agreement; and (ii) $45,428.42 in a claim for alleged infringement of the
                                                          Copyright Act based on the Debtors’ public performance of licensed music for license
                                       11
                                                          fees and late payment charges between January 1, 2017 and June 30, 2021. See id.
                                                          (Accounting Ex. 18).
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                                       12
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                                       13           x     Sound Exchange: $4,000 related to Silver State and Major Market, as of April 21,
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                                                          2021, related to fees for royalties and related music streaming rights. See id.
                                       14                 (Accounting Ex. 19).
                                       15   Notwithstanding the foregoing, the Receiver only identified this information through an ad hoc

                                       16   process requesting information directly from entities the Receiver identified as potential claimants

                                       17   and was not provided access to the Debtors’ books and records related to their finances or legal

                                       18   documents to confirm the validity of such claims. The Receiver has identified this amount as

                                       19   unknown, given the Debtors’ failure to provide disclosures, the potential incompleteness of this

                                       20   information, the Receiver’s lack of access to and personal knowledge of the Debtors’ own books and

                                       21   records to confirm the foregoing, and that claimants have now filed more accurate claims in the

                                       22   Bankruptcy Cases (although the Receiver does not have personal knowledge of the accuracy of the

                                       23   information in such claims).

                                       24           Additionally, the Receiver’s costs continued to accrue during the pendency of the

                                       25   receivership. The Operating Reports include the monthly Receiver’s fee divided by book entry among

                                       26   the Debtors. The Receiver also continued to accrue costs and expenses. On August 26, 2021, the

                                       27   District Court entered an order authorizing a request for approval of such fees and expenses as

                                       28   follows:
                                                                                            14
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                                                    x      Receiver’s Out-of-Pocket Expenses: $34,122.06
                                        1

                                        2           x      Counsel Fees: $451,218.04

                                        3           x      Stay Bonuses: $60,000

                                        4   See RJN, Ex. BB (Order at 4). The Receiver and his counsel continued to accrue out-of-pocket

                                        5   expenses and fees following this interim fee award, which are set forth more fully in the Receiver’s

                                        6   proofs of claims filed against the Debtors.

                                        7           Accordingly, given the incomplete disclosures with respect to post-receivership trade

                                        8   payables, the Receiver cannot with personal knowledge identify the total amount of post-receivership

                                        9   payables outstanding and has listed the amount as “unknown.”

                                       10           h. Postpetition Taxes Payable. This category assumes that it applies to post-receivership

                                       11   payables, rather than just postpetition payables as listed. The Debtors are pass-through entities with

                                            tax returns prepared solely by Royce as confirmed by the Debtors in postpetition discovery. See, e.g.,
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                                       13   Koffroth Decl., Ex. A (Dep. Tr., Ex. H (Royce 2017-2019 Tax Returns)). The Receiver did not obtain
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                                       14   information concerning postpetition taxes payable and understands (but cannot confirm) that Royce

                                       15   paid post-receivership taxes. Accordingly, this entry is listed as unknown.

                                       16           i. Postpetition Taxes Payable (Excluding Taxes). This category assumes that it applies to

                                       17   post-receivership payables, rather than just postpetition payables as listed. The Debtors are pass-

                                       18   through entities with tax returns prepared solely by Royce as confirmed by the Debtors in postpetition

                                       19   discovery. See, e.g., Koffroth Decl., Ex. A (Dep. Tr., Ex. H (Royce 2017-2019 Tax Returns)). The

                                       20   Receiver did not obtain information concerning postpetition taxes payable and understands (but

                                       21   cannot confirm) that Royce paid post-receivership taxes. Accordingly, this entry is listed as unknown.

                                       22           j. Postpetition Taxes Payable (Excluding Taxes). This category assumes that it applies to

                                       23   post-receivership payables, rather than just postpetition payables as listed. The Debtors are pass-

                                       24   through entities with tax returns prepared solely by Royce as confirmed by the Debtors in postpetition

                                       25   discovery. See, e.g., Koffroth Decl., Ex. A (Dep. Tr., Ex. H (Royce 2017-2019 Tax Returns)). The

                                       26   Receiver did not obtain information concerning postpetition taxes payable and understands (but

                                       27   cannot confirm) that Royce paid post-receivership taxes. Accordingly, this entry is listed as unknown.

                                       28
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                                        1           k. Prepetition Secured Debt. This category assumes that it applies to pre-receivership debt,

                                        2   rather than just prepetition debt as listed. The Debtors admitted that they did not provide payable
                                        3   information as of the outset of the receivership and, as of February 24, 2021, the Debtors still had not
                                        4   provided a comply accounting from January 1, 2019 to “present” and the Debtors had only just
                                        5   identified certain of their landlord and lease locations (which proved inaccurate). See, e.g., Suppl.
                                        6   RJN, Ex. Q (Status Report, Ex. 1 at 2-4). The District Court did award payment of a judgment owing
                                        7   to Bellaire Towers Homeowners Association in the amount of $340,039.85 during the pendency of
                                        8   the receivership. See RJN, Ex. BB at 6. However, given the paucity of disclosures, the Receiver lists
                                        9   to total amount of pre-receivership secured debt as unknown.
                                       10           m. Prepetition Unsecured Debt. This category assumes that it applies to pre-receivership
                                       11   debt, rather than just prepetition debt as listed. The Debtors admitted that they did not provide payable
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                                       12   information as of the outset of the receivership and, as of February 24, 2021, the Debtors still had not
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                                       13   provided a comply accounting from January 1, 2019 to “present” and the Debtors had only just
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                                       14   identified certain of their landlord and lease locations (which proved inaccurate). See, e.g., Suppl.
                                       15   RJN, Ex. Q (Status Report, Ex. 1 at 2-4). Accordingly, the Receiver never obtained this information.
                                       16   C.      Part 3: Assets Sold or Transferred. The Receiver did not sell or transfer assets during the
                                       17   pendency of the receivership. However, given the substantial amount of time the Receiver was
                                       18   unable to bring assets under the control of the receivership (if at all), and in light of Mr. Stolz’s as-
                                       19   yet unsubstantiated claims of loss during the receivership, the Receiver cannot conclude whether
                                       20   assets were sold or transferred by the Debtors, Royce, Mr. Stolz, or others during the pendency of
                                       21   the receivership.
                                       22   D.      Part 4: Income Statement (Statement of Operations)
                                       23           a. Gross Income/Sales (Net of Returns and Allowances). As set forth more fully in the
                                       24   District Court Record, the Debtors admitted that they did not turn over access to the Debtors’ bank
                                       25   accounts. See Suppl. RJN, Ex. H (Status report, Ex. 1 at 1). Instead, the Debtors asserted that “[t]he
                                       26   proceeds of the Royce International accounts, funded by Royce receipts, have been converted to a
                                       27   cashier’s check in the amount of $1,041.01” and provided to the Receiver on or about March 2, 2021.
                                       28   Id. The Receiver, therefore, reflects by book entry a $347.00 receipt for each Debtor in March 2021
                                                                                             16
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                                        1   for the first and only receipt of pre-receivership bank account assets from the Debtors. Accordingly,

                                        2   the Receiver does not reflect income until the September 2020 Operating Report reflecting a book

                                        3   entry for a $5,000 payment from Mr. Stolz to the receiver 2 based on a contempt sanction award

                                        4   entered by the District Court with the only subsequent income relating to the fees paid by VCY under
                                        5   the LMA. See RJN, Ex. Q (Contempt Order at 3).
                                        6            b. Cost of Goods Sold. The Receiver reflects this amount as “unknown” given the lack of
                                        7   disclosures concerning pre-receivership finances and operations; however, the amount may be
                                        8   inapplicable based on the Debtors’ income (to the Receiver’s knowledge) not being based on sales of
                                        9   goods.
                                       10            e. General and Administrative Expenses.                    The Receiver incorporates herein by this
                                       11   reference the General Notes concerning Part 2, Item g. of the Operating Reports. However, this
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                                       12   section only identifies actual disbursements from the receivership estate rather than accrued liabilities.
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                                       13   In total, the general and administrative expenses actually disbursed during the Accounting Period,
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                                       14   relate to the following expense categories: (i) bank service charges with respect to all Debtors; (ii) rent
                                       15   payment with respect to Silver State; (ii) 2020 FCC regulatory fee reimbursement to the Receiver
                                       16   with respect to all Debtors; (iii) 2021 FCC regulatory fee reimbursement to the Receiver authorized
                                       17   by the District Court with respect to all Debtors; (iv) Bureau of Land Management fee reimbursement
                                       18   to the Receiver with respect to Silver State; (v) partial payment of fees authorized by District Court
                                       19   to Sciarrino & Shubert (see RJN, Ex. BB (fee order); District Court Case, Docket No. 453
                                       20   (Accounting, Ex. 9)); and (vi) partial payment of travel expenses of the Receiver authorized by the
                                       21   District Court (see RJN, Ex. BB (fee order)).
                                       22   E.       Part 5: Employment of Estate Professionals.
                                       23            The spreadsheets automatically generated by the Operating Report Form concerning
                                       24   employment of estate professionals is omitted in light of its inapplicability to receiverships, the
                                       25
                                            2
                                               While this amount is recorded as income, the order specifically provides that “Defendant Edward Stolz is hereby
                                       26
                                            sanctions in the amount of $5,000 to compensate the Receiver for his costs incurred in these contempt proceedings,
                                       27   including, but not limited to, his travel costs, conference room rental costs for the Order to Show Cause hearing, and his
                                            attorneys’ fees incurred as a result of Stolz’s misconduct.” RJN, Ex. Q (Contempt Order at 3). Accordingly, this income
                                       28   has a restricted purpose, pursuant to the District Court order and the Receiver reserves all rights with respect thereto.
                                                                                                       17
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                                        1   separate accrual of the Receiver’s fees, and the foregoing discussion concerning the Receiver’s out-

                                        2   of-pocket expenses and professionals’ fees. Accordingly, this Part of the Operating Reports is

                                        3   omitted.

                                        4   F.      Part 6: Postpetition Taxes

                                        5           This category assumes that it applies to post-receivership taxes, rather than just postpetition
                                        6   taxes as listed. As set forth above, the Debtors are pass-through entities with tax returns prepared
                                        7   solely by Royce as confirmed by the Debtors in postpetition discovery. See, e.g., Koffroth Decl., Ex.
                                        8   A (Dep. Tr., Ex. H (Royce 2017-2019 Tax Returns)). The Receiver did not obtain information
                                        9   concerning postpetition taxes payable and understands (but cannot confirm) that Royce paid post-
                                       10   receivership taxes. Accordingly, this entry is listed as unknown.
                                       11   G.      Part 7: Questionnaire
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                                       12           The Questionnaire addresses questions specifically related to bankruptcy cases. Accordingly,
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                                       13   the Receiver has omitted responses to this Part of the Operating Reports.
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                                       14   H.      Part 8: Individual Chapter 11 Debtors (Only)
                                       15           The Individual Chapter 11 Debtors portion of the Operating Report Form addresses questions
                                       16   specifically related to individuals. The Debtors are corporate entities. Accordingly, the Receiver has
                                       17   omitted responses to this Part of the Operating Reports.
                                       18           DATED this 16th day of September 2022.
                                       19                                             FOX ROTHSCHILD LLP
                                       20
                                                                                      By:         /s/ Brett A. Axelrod
                                       21                                                   BRETT A. AXELROD, ESQ.
                                                                                            Nevada Bar No. 5859
                                       22                                                   NICHOLAS A. KOFFROTH, ESQ.
                                                                                            Appearing Pro Hac Vice
                                       23
                                                                                            1980 Festival Plaza Drive, Suite 700
                                       24                                                   Las Vegas, Nevada 89135
                                                                                            Counsel for W. Lawrence Patrick
                                       25

                                       26

                                       27

                                       28
                                                                                               18
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     Exhibit 2-A
(Silver State consolidated MORs)
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-14978
         SILVER STATE BROADCASTING, LLC,                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 07/31/2020                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
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Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                       $0
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                      1$                   1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                     
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business
b.   Total payments to third parties incident to assets being sold/transferred
                                                                                      8QNQRZQ               8QNQRZQ
     outside the ordinary course of business
c.   Net cash proceeds from assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business (a-b)

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                          8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


UST Form 11-MOR (12/01/2021)                                           2
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Debtor's Name                                                                                        Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                 8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                    8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                   8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                      8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                              8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                     8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                       Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
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Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-14978
         SILVER STATE BROADCASTING, LLC,                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                     Case 21-14978-abl           Doc 326        Entered 09/16/22 21:24:15     Page 34 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                     $0
c.   Total disbursements (net of transfers between accounts)                                         $0                     $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                     $0
f.   Total disbursements for quarterly fee calculation (c+e)                                       1$                   1$
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                     
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                     8QNQRZQ               8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                               8QNQRZQ                8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                              8QNQRZQ                8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                          8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                        8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ           8QNQRZQ


UST Form 11-MOR (12/01/2021)                                           2
                 Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 35 of 282
Debtor's Name                                                                                        Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                 8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                    8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                   8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                      8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                              8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                     8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                       Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                    Case 21-14978-abl               Doc 326         Entered 09/16/22 21:24:15                 Page 36 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-14978
         SILVER STATE BROADCASTING, LLC,                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                     Case 21-14978-abl           Doc 326        Entered 09/16/22 21:24:15       Page 38 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                  $0
b.   Total receipts (net of transfers between accounts)                                    $                 $
c.   Total disbursements (net of transfers between accounts)                                       $0                           $0
d.   Cash balance end of month (a+b-c)                                                      $
e.   Disbursements made by third party for the benefit of the estate                                  $0                        $0
f.   Total disbursements for quarterly fee calculation (c+e)                                    1$                       1$
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                            8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                       8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                      
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                 8QNQRZQ              8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                          8QNQRZQ                8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                          8QNQRZQ               8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                       $
b.   Cost of goods sold (inclusive of depreciation, if applicable)                          8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ          8QNQRZQ


UST Form 11-MOR (12/01/2021)                                           2
                 Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 39 of 282
Debtor's Name                                                                                        Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                 8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                    8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                   8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                      8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                              8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                     8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                       Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                    Case 21-14978-abl               Doc 326         Entered 09/16/22 21:24:15                 Page 40 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
                Case 21-14978-abl              Doc 326        Entered 09/16/22 21:24:15                Page 41 of 282



                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-14978
         SILVER STATE BROADCASTING, LLC,                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                     Case 21-14978-abl           Doc 326        Entered 09/16/22 21:24:15      Page 42 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                        $
b.   Total receipts (net of transfers between accounts)                                              $0           $
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                      $
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                   1$                      1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                       8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                  
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                       $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                       $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                       $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                        8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


UST Form 11-MOR (12/01/2021)                                           2
                 Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 43 of 282
Debtor's Name                                                                                        Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                 8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                    8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                   8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                      8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                              8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                     8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                       Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                    Case 21-14978-abl               Doc 326         Entered 09/16/22 21:24:15                 Page 44 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-14978
         SILVER STATE BROADCASTING, LLC,                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                     Case 21-14978-abl           Doc 326        Entered 09/16/22 21:24:15     Page 46 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                       $
b.   Total receipts (net of transfers between accounts)                                              $0           $
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                       
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                       1$                  1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                    
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                      8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                          8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


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Debtor's Name                                                                                        Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                 8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                    8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                   8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                      8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                              8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                     8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                       Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
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Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




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Monthly Operating Report                                                                                                 &KDSWHU

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Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                 Case 21-14978-abl                Doc 326          Entered 09/16/22 21:24:15        Page 51 of 282
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F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         6,/9(567$7(%52$'&$67,1*//&                           
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                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 54 of 282
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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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                    Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 56 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                Case 21-14978-abl             Doc 326        Entered 09/16/22 21:24:15                Page 57 of 282



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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         6,/9(567$7(%52$'&$67,1*//&                           
                                                                                    /HDG&DVH1R 
                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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867)RUP025                                        
                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 58 of 282
'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


867)RUP025                                            
                 Case 21-14978-abl                Doc 326          Entered 09/16/22 21:24:15        Page 59 of 282
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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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                    Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 60 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
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ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                     'HEWRU V                                      
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Monthly Operating Report                                                                                                 &KDSWHU

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0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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867)RUP025                                        
                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 62 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         6,/9(567$7(%52$'&$67,1*//&                           
                                                                                    /HDG&DVH1R 
                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 70 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         6,/9(567$7(%52$'&$67,1*//&                           
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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 74 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                      
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                         
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                        1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                  
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                               
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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'HEWRU V1DPH                                                                                       &DVH1R 
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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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                    Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 76 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
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Monthly Operating Report                                                                                                 &KDSWHU

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                          
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                           
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                      
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                               
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         6,/9(567$7(%52$'&$67,1*//&                           
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                          
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                 
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                           
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                      
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                               
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
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86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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         6,/9(567$7(%52$'&$67,1*//&                           
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                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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                                                                           /DNHVLGH'U6WH5HQR19
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                     
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                     
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                   
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                           
I   2WKHUH[SHQVHV                                                                         8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                   8QNQRZQ
K   ,QWHUHVW                                                                               8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                       8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                   8QNQRZQ
N   3URILW ORVV                                                                           8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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Monthly Operating Report                                                                                                 &KDSWHU

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5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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'DWH
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                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 90 of 282
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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                     
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                       8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                   
I   2WKHUH[SHQVHV                                                                         8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                   8QNQRZQ
K   ,QWHUHVW                                                                               8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                       8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                   8QNQRZQ
N   3URILW ORVV                                                                           8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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                    Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 92 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
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Monthly Operating Report                                                                                                 &KDSWHU

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0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
  D  DSSOLHV

867)RUP025                                        
                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 94 of 282
'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
G   &DVKEDODQFHHQGRIPRQWK DEF                                                     
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                       8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                               
I   2WKHUH[SHQVHV                                                                         8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                   8QNQRZQ
K   ,QWHUHVW                                                                               8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                       8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                   8QNQRZQ
N   3URILW ORVV                                                                           8QNQRZQ


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'HEWRU V1DPH                                                                                       &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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                    Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 96 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         6,/9(567$7(%52$'&$67,1*//&                           
                                                                                    /HDG&DVH1R 
                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                      3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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867)RUP025                                        
                    Case 21-14978-abl            Doc 326        Entered 09/16/22 21:24:15     Page 98 of 282
'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                     
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                              
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                         8QNQRZQ
F   ,QYHQWRU\       %RRN          0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                   8QNQRZQ
H   7RWDODVVHWV                                                                           8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                 8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                        8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                             8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                            8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                              8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                               8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                      
R   (QGLQJHTXLW\QHWZRUWK HQ                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                   8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                              8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                           8QNQRZQ
F   *URVVSURILW DE                                                                      8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                       8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                   
I   2WKHUH[SHQVHV                                                                         8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                   8QNQRZQ
K   ,QWHUHVW                                                                               8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                       8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                   8QNQRZQ
N   3URILW ORVV                                                                           8QNQRZQ


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                 Case 21-14978-abl                Doc 326          Entered 09/16/22 21:24:15        Page 99 of 282
'HEWRU V1DPH                                                                                       &DVH1R 
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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                              Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                 8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                    8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                  8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                     8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                             8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV       <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV               <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                          <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                          <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                      <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                       <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"               <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\          <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                     <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                        <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"               <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                      <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                        <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                          <HV        1R
     VHWIRUWKXQGHU86&"




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'HEWRU V1DPH                                                                                                 &DVH1R 
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 102 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                   
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                           
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                  
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
                                                                                                      
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 104 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         6,/9(567$7(%52$'&$67,1*//&                           
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 106 of 282
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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                 
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
                                                                                                           
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 108 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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       Exhibit 2-B
(Golden State consolidated MORs)
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-1497
         *2/'(1 STATE BROADCASTING, LLC,                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 07/31/2020                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15    Page 111 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                       $0
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                      1$                   1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                     
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business
b.   Total payments to third parties incident to assets being sold/transferred
                                                                                      8QNQRZQ               8QNQRZQ
     outside the ordinary course of business
c.   Net cash proceeds from assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business (a-b)

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                          8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 112 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
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Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-1497
         *2/'(167$7(%52$'&$67,1*//&,                           §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15     Page 115 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                     $0
c.   Total disbursements (net of transfers between accounts)                                         $0                     $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                     $0
f.   Total disbursements for quarterly fee calculation (c+e)                                       1$                   1$
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                    8QNQRZQ
e.   Total assets                                                                            8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                 8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                        8QNQRZQ
h.   Postpetition taxes payable                                                              8QNQRZQ
i.   Postpetition taxes past due                                                             8QNQRZQ
j.   Total postpetition debt (f+h)                                                           8QNQRZQ
k.   Prepetition secured debt                                                                8QNQRZQ
l.   Prepetition priority debt                                                               8QNQRZQ
m. Prepetition unsecured debt                                                                8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                      
o.   Ending equity/net worth (e-n)                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                     8QNQRZQ               8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                8QNQRZQ               8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                               8QNQRZQ               8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                        8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ           8QNQRZQ


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 116 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 117 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-1497
         *2/'(167$7(%52$'&$67,1*//&                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15      Page 119 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                  $0
b.   Total receipts (net of transfers between accounts)                                     $                $
c.   Total disbursements (net of transfers between accounts)                                        $0                          $0
d.   Cash balance end of month (a+b-c)                                                       $
e.   Disbursements made by third party for the benefit of the estate                                  $0                        $0
f.   Total disbursements for quarterly fee calculation (c+e)                                    1$                       1$
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))              8QNQRZQ
d    Total current assets                                                                    8QNQRZQ
e.   Total assets                                                                            8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                 8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                        8QNQRZQ
h.   Postpetition taxes payable                                                              8QNQRZQ
i.   Postpetition taxes past due                                                             8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                               8QNQRZQ
m. Prepetition unsecured debt                                                                8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                       
o.   Ending equity/net worth (e-n)                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                 8QNQRZQ              8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                          8QNQRZQ                8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                          8QNQRZQ               8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                        $
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                      8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                      8QNQRZQ
f.   Other expenses                                                                           8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                    8QNQRZQ
h.   Interest                                                                                 8QNQRZQ
i.   Taxes (local, state, and federal)                                                        8QNQRZQ
j.   Reorganization items                                                                     8QNQRZQ
k.   Profit (loss)                                                                            8QNQRZQ         8QNQRZQ


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 120 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 121 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
               Case 21-14978-abl              Doc 326        Entered 09/16/22 21:24:15                Page 122 of 282



                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-1497
         *2/'(167$7(%52$'&$67,1*//&                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15     Page 123 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                        $
b.   Total receipts (net of transfers between accounts)                                              $0           $
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                      $
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                   1$                      1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                  
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                       $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                       $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                       $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                        8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 124 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 125 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-1497
         *2/'(167$7(%52$'&$67,1*//&                            §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15     Page 127 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                        $
b.   Total receipts (net of transfers between accounts)                                              $0           $
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                        
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                       1$                  1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                    
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                      8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                 8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                      8QNQRZQ
d.   Selling expenses                                                                        8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 128 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 129 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
               Case 21-14978-abl             Doc 326        Entered 09/16/22 21:24:15                Page 130 of 282



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Monthly Operating Report                                                                                                 &KDSWHU

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
  D  DSSOLHV

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'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 133 of 282
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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         *2/'(167$7(%52$'&$67,1*//&                           
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                     'HEWRU V                                      
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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 136 of 282
'HEWRU V1DPH                                                                                        &DVH1R 
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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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         *2/'(167$7(%52$'&$67,1*//&                           
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
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67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 139 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 141 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         *2/'(167$7(%52$'&$67,1*//&                           
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                     'HEWRU V                                      
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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                                
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


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                                                                                    /HDG&DVH1R 
                     'HEWRU V                                      
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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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         *2/'(167$7(%52$'&$67,1*//&                           
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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
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67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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Part 1: Cash Receipts and Disbursements                                          Current Month             Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                       
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                         
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                    1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month             Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month             Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                   
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 157 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R /HDG
         *2/'(167$7(%52$'&$67,1*//&                           
                                                                                    &DVH1R 
                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 159 of 282
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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month             Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                           
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                     
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                          
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                        1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 160 of 282
'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 161 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




867)RUP025                                                 
               Case 21-14978-abl             Doc 326        Entered 09/16/22 21:24:15                Page 162 of 282



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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         *2/'(167$7(%52$'&$67,1*//&                           
                                                                                    /HDG&DVH1R 
                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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867)RUP025                                        
                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 163 of 282
'HEWRU V1DPH                                                                                     &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month             Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                           
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                  
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                            
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                           
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


867)RUP025                                            
                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 164 of 282
'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 165 of 282
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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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,Q5H                                                                              &DVH1R 
         *2/'(167$7(%52$'&$67,1*//&                           
                                                                                    /HDG&DVH1R 
                     'HEWRU V                                      
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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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867)RUP025                                        
                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 167 of 282
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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                     
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                 
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                        
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                   
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                         8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                            
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         *2/'(167$7(%52$'&$67,1*//&                           
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Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                      3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                  
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                     1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                   
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         *2/'(167$7(%52$'&$67,1*//&                           
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                      3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                               
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
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ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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         *2/'(167$7(%52$'&$67,1*//&                           
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Monthly Operating Report                                                                                                 &KDSWHU

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5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 179 of 282
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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                     1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                   
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 181 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
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Monthly Operating Report                                                                                                 &KDSWHU

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0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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  D  DSSOLHV

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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                   
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                           
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                  
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
                                                                                                      
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         *2/'(167$7(%52$'&$67,1*//&                           
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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                                                                            $GGUHVV



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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                 
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
                                                                                                           
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 189 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




867)RUP025                                                 
 Case 21-14978-abl   Doc 326   Entered 09/16/22 21:24:15   Page 190 of 282




       Exhibit 2-C
(Major Market consolidated MORs)
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-149
         0$-250$5.(75$',2//&                                   §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 07/31/2020                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15    Page 192 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                       $0
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                      1$                   1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                     
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business
b.   Total payments to third parties incident to assets being sold/transferred
                                                                                      8QNQRZQ               8QNQRZQ
     outside the ordinary course of business
c.   Net cash proceeds from assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business (a-b)

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                          8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ


UST Form 11-MOR (12/01/2021)                                           2
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Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ
e.   Postpetition property taxes paid                                                               8QNQRZQ
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 194 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-149
         0$-250$5.(75$',2//&                                   §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:0/31/2020                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15    Page 196 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                       $0
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                      1$                   1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                     
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business
b.   Total payments to third parties incident to assets being sold/transferred
                                                                                      8QNQRZQ               8QNQRZQ
     outside the ordinary course of business
c.   Net cash proceeds from assets sold/transferred outside the ordinary
                                                                                      8QNQRZQ               8QNQRZQ
     course of business (a-b)

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                          8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 197 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ
e.   Postpetition property taxes paid                                                               8QNQRZQ
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 198 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
               Case 21-14978-abl              Doc 326        Entered 09/16/22 21:24:15                Page 199 of 282



                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-149
         0$-250$5.(75$',2//&                                   §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15      Page 200 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                  $0
b.   Total receipts (net of transfers between accounts)                                     $                $
c.   Total disbursements (net of transfers between accounts)                                        $0                          $0
d.   Cash balance end of month (a+b-c)                                                       $
e.   Disbursements made by third party for the benefit of the estate                                  $0                        $0
f.   Total disbursements for quarterly fee calculation (c+e)                                    1$                       1$
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))              8QNQRZQ
d    Total current assets                                                                    8QNQRZQ
e.   Total assets                                                                            8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                 8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                        8QNQRZQ
h.   Postpetition taxes payable                                                              8QNQRZQ
i.   Postpetition taxes past due                                                             8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                               8QNQRZQ
m. Prepetition unsecured debt                                                                8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                       
o.   Ending equity/net worth (e-n)                                                           8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                 8QNQRZQ              8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                          8QNQRZQ                8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                          8QNQRZQ               8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                        $
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                      8QNQRZQ
d.   Selling expenses                                                                       8QNQRZQ
e.   General and administrative expenses                                                      8QNQRZQ
f.   Other expenses                                                                           8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                    8QNQRZQ
h.   Interest                                                                                 8QNQRZQ
i.   Taxes (local, state, and federal)                                                        8QNQRZQ
j.   Reorganization items                                                                     8QNQRZQ
k.   Profit (loss)                                                                            8QNQRZQ         8QNQRZQ


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 201 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 202 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-149
         0$-250$5.(75$',2//&                                   §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                 Case 21-14978-abl              Doc 326         Entered 09/16/22 21:24:15     Page 204 of 282
Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                        $
b.   Total receipts (net of transfers between accounts)                                              $0           $
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                      $
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                   1$                      1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                  
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                       $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                       $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                       $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                     8QNQRZQ
d.   Selling expenses                                                                        8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


UST Form 11-MOR (12/01/2021)                                           2
                Case 21-14978-abl                Doc 326            Entered 09/16/22 21:24:15        Page 205 of 282
Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                            8
                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 206 of 282
Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
               Case 21-14978-abl              Doc 326        Entered 09/16/22 21:24:15                Page 207 of 282



                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Nevada
                                                            Las Vegas Division


In Re.                                                              §                  Case No. 21-149
         0$-250$5.(75$',2//&                                   §
                                                                    §                  Lead Case No. 21-14978
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended:                                                       Petition Date:/202

Months Pending:1$                                                                      Industry Classification:    5    1   5   1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          8QNQRZQ

Debtor's Full-Time Employees (as of date of order for relief):                   8QNQRZQ



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




/s/ W. Lawrence Patrick                                                      W. Lawrence Patrick
Signature of Responsible Party                                               Printed Name of Responsible Party
09/16/2022
Date
                                                                             6151 Lakeside Dr., Ste 2100, Reno, NV 89511
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
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Debtor's Name                                                                                     Case No. 21-14978
                 SILVER STATE BROADCASTING, LLC,
Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                        $
b.   Total receipts (net of transfers between accounts)                                              $0           $
c.   Total disbursements (net of transfers between accounts)                                         $0                       $0
d.   Cash balance end of month (a+b-c)                                                        
e.   Disbursements made by third party for the benefit of the estate                                 $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                       1$                  1$

Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                             8QNQRZQ
b.   Accounts receivable over 90 days outstanding (net of allowance)                        8QNQRZQ
c.   Inventory       ( Book        Market      Other      (attach explanation))             8QNQRZQ
d    Total current assets                                                                   8QNQRZQ
e.   Total assets                                                                           8QNQRZQ
f.   Postpetition payables (excluding taxes)                                                8QNQRZQ
g.   Postpetition payables past due (excluding taxes)                                       8QNQRZQ
h.   Postpetition taxes payable                                                             8QNQRZQ
i.   Postpetition taxes past due                                                            8QNQRZQ
j.   Total postpetition debt (f+h)                                                          8QNQRZQ
k.   Prepetition secured debt                                                               8QNQRZQ
l.   Prepetition priority debt                                                              8QNQRZQ
m. Prepetition unsecured debt                                                               8QNQRZQ
n.   Total liabilities (debt) (j+k+l+m)                                                    
o.   Ending equity/net worth (e-n)                                                          8QNQRZQ

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                      8QNQRZQ
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                 8QNQRZQ
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                8QNQRZQ

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           8QNQRZQ
c.   Gross profit (a-b)                                                                      8QNQRZQ
d.   Selling expenses                                                                        8QNQRZQ
e.   General and administrative expenses                                                     8QNQRZQ
f.   Other expenses                                                                          8QNQRZQ
g.   Depreciation and/or amortization (not included in 4b)                                   8QNQRZQ
h.   Interest                                                                                8QNQRZQ
i.   Taxes (local, state, and federal)                                                       8QNQRZQ
j.   Reorganization items                                                                    8QNQRZQ
k.   Profit (loss)                                                                           8QNQRZQ                          $0


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Debtor's Name                                                                                         Case No. 21-14978
                SILVER STATE BROADCASTING, LLC,
         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                Current Month            Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  8QNQRZQ                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     8QNQRZQ                          $0
c.   Postpetition employer payroll taxes accrued                                                    8QNQRZQ                          $0
d.   Postpetition employer payroll taxes paid                                                       8QNQRZQ                          $0
e.   Postpetition property taxes paid                                                               8QNQRZQ                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   8QNQRZQ                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      8QNQRZQ                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No      N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                        Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            Casualty/property insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
                            General liability insurance?                            Yes        No
                                 If yes, are your premiums current?                 Yes        No      N/A    (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




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Debtor's Name                                                                                                 Case No. 21-14978
                   SILVER STATE BROADCASTING, LLC,
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ W. Lawrence Patrick                                                         W. Lawrence Patrick
Signature of Responsible Party                                                  Printed Name of Responsible Party

Receiver                                                                        09/16/2022
Title                                                                           Date




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Monthly Operating Report                                                                                                 &KDSWHU

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Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
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Part 8: Individual Chapter 11 Debtors (Only)

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E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
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ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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Monthly Operating Report                                                                                                 &KDSWHU

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0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 216 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 217 of 282
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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 218 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
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Monthly Operating Report                                                                                                 &KDSWHU

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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                                                                            $GGUHVV



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  D  DSSOLHV

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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


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         0$-250$5.(75$',2//&                                  
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 224 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                                
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 225 of 282
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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


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         0$-250$5.(75$',2//&                                  
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                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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Monthly Operating Report                                                                                                 &KDSWHU

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5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 232 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                                
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                       
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                  1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                     8QNQRZQ
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
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Monthly Operating Report                                                                                                 &KDSWHU

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0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

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'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
  D  DSSOLHV

867)RUP025                                        
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'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month             Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                        
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                       
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                         
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                        1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               8QNQRZQ
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month             Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month             Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                   
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                    
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 238 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         0$-250$5.(75$',2//&                                  
                                                                                    /HDG&DVH1R 
                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15     Page 240 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month             Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                           
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                     
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                          
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                        1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 241 of 282
'HEWRU V1DPH                                                                                        &DVH1R 
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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                           /DV9HJDV'LYLVLRQ


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                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
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Part 1: Cash Receipts and Disbursements                                          Current Month             Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                           
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                  
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                                            
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                             
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


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Monthly Operating Report                                                                                                 &KDSWHU

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0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

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'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15      Page 248 of 282
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                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                     
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                 
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                        
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                   
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                         8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                            
I   2WKHUH[SHQVHV                                                                           8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                     8QNQRZQ
K   ,QWHUHVW                                                                                 8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                         8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                     8QNQRZQ
N   3URILW ORVV                                                                             8QNQRZQ


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                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 249 of 282
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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
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P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
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WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
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FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
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5HSRUWLQJ3HULRG(QGHG                                                      3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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  D  DSSOLHV

867)RUP025                                        
                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15      Page 252 of 282
'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                     1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                   
I   2WKHUH[SHQVHV                                                                           8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                     8QNQRZQ
K   ,QWHUHVW                                                                                 8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                         8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                     8QNQRZQ
N   3URILW ORVV                                                                             8QNQRZQ


867)RUP025                                            
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'HEWRU V1DPH                                                                                        &DVH1R 
                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 254 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
                   6,/9(567$7(%52$'&$67,1*//&
Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


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         0$-250$5.(75$',2//&                                  
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                      3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




V:/DZUHQFH3DWULFN                                                    : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



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867)RUP025                                        
                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15      Page 256 of 282
'HEWRU V1DPH                                                                                    &DVH1R 
                 6,/9(567$7(%52$'&$67,1*//&
Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                    
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                               
I   2WKHUH[SHQVHV                                                                           8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                     8QNQRZQ
K   ,QWHUHVW                                                                                 8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                         8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                     8QNQRZQ
N   3URILW ORVV                                                                             8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


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         0$-250$5.(75$',2//&                                  
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                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                      3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                         1$                     1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                   
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 262 of 282
'HEWRU V1DPH                                                                                                 &DVH1R 
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

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86&EDXWKRUL]HVWKHFROOHFWLRQRIWKLVLQIRUPDWLRQDQGSURYLVLRQRIWKLVLQIRUPDWLRQLVPDQGDWRU\XQGHU86&
DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



V:/DZUHQFH3DWULFN                                                        : /DZUHQFH3DWULFN
6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
7LWOH                                                                           'DWH




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                                                             ',675,&72) 1HYDGD
                                                           /DV9HJDV'LYLVLRQ


,Q5H                                                                              &DVH1R 
         0$-250$5.(75$',2//&                                  
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                     'HEWRU V                                      
                                                                                          -RLQWO\$GPLQLVWHUHG

Monthly Operating Report                                                                                                 &KDSWHU

5HSRUWLQJ3HULRG(QGHG                                                       3HWLWLRQ'DWH

0RQWKV3HQGLQJ1$                                                                     ,QGXVWU\&ODVVLILFDWLRQ              

5HSRUWLQJ0HWKRG                             $FFUXDO%DVLV                      &DVK%DVLV

'HEWRU V)XOO7LPH(PSOR\HHV FXUUHQW                                          8QNQRZQ

'HEWRU V)XOO7LPH(PSOR\HHV DVRIGDWHRIRUGHUIRUUHOLHI                   8QNQRZQ



Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                              3ULQWHG1DPHRI5HVSRQVLEOH3DUW\
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'DWH
                                                                           /DNHVLGH'U6WH5HQR19
                                                                            $GGUHVV



67$7(0(177KLV3HULRGLF5HSRUWLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ$FWH[HPSWLRQ&)5
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                    Case 21-14978-abl           Doc 326         Entered 09/16/22 21:24:15      Page 264 of 282
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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                     
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                     
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                   
G   &DVKEDODQFHHQGRIPRQWK DEF                                                       
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                           
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month            Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month            Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                   
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
                                                                                                      
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV
I   2WKHUH[SHQVHV                                                                           8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                     8QNQRZQ
K   ,QWHUHVW                                                                                 8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                         8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                     8QNQRZQ
N   3URILW ORVV                                                                             8QNQRZQ


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                Case 21-14978-abl                Doc 326           Entered 09/16/22 21:24:15        Page 265 of 282
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                6,/9(567$7(%52$'&$67,1*//&
         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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                   Case 21-14978-abl               Doc 326          Entered 09/16/22 21:24:15                Page 266 of 282
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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

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Monthly Operating Report                                                                                                 &KDSWHU

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Supporting Documentation  FKHFNDOOWKDWDUHDWWDFKHG 
)RUMRLQWO\DGPLQLVWHUHGGHEWRUVDQ\UHTXLUHGVFKHGXOHVPXVWEHSURYLGHGRQDQRQFRQVROLGDWHGEDVLVIRUHDFKGHEWRU

         6WDWHPHQWRIFDVKUHFHLSWVDQGGLVEXUVHPHQWV
         %DODQFHVKHHWFRQWDLQLQJWKHVXPPDU\DQGGHWDLORIWKHDVVHWVOLDELOLWLHVDQGHTXLW\ QHWZRUWK RUGHILFLW
         6WDWHPHQWRIRSHUDWLRQV SURILWRUORVVVWDWHPHQW
         $FFRXQWVUHFHLYDEOHDJLQJ
         3RVWSHWLWLRQOLDELOLWLHVDJLQJ
         6WDWHPHQWRIFDSLWDODVVHWV
         6FKHGXOHRISD\PHQWVWRSURIHVVLRQDOV
         6FKHGXOHRISD\PHQWVWRLQVLGHUV
         $OOEDQNVWDWHPHQWVDQGEDQNUHFRQFLOLDWLRQVIRUWKHUHSRUWLQJSHULRG
         'HVFULSWLRQRIWKHDVVHWVVROGRUWUDQVIHUUHGDQGWKHWHUPVRIWKHVDOHRUWUDQVIHU




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Part 1: Cash Receipts and Disbursements                                          Current Month            Cumulative

D   &DVKEDODQFHEHJLQQLQJRIPRQWK                                                      
E   7RWDOUHFHLSWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                         
F   7RWDOGLVEXUVHPHQWV QHWRIWUDQVIHUVEHWZHHQDFFRXQWV                                                        
G   &DVKEDODQFHHQGRIPRQWK DEF                                                    
H   'LVEXUVHPHQWVPDGHE\WKLUGSDUW\IRUWKHEHQHILWRIWKHHVWDWH                                               
I   7RWDOGLVEXUVHPHQWVIRUTXDUWHUO\IHHFDOFXODWLRQ FH                                        1$                      1$
Part 2: Asset and Liability Status                                               Current Month
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D $FFRXQWVUHFHLYDEOH WRWDOQHWRIDOORZDQFH                                               
E   $FFRXQWVUHFHLYDEOHRYHUGD\VRXWVWDQGLQJ QHWRIDOORZDQFH                          8QNQRZQ
F   ,QYHQWRU\        %RRN         0DUNHW     2WKHU        DWWDFKH[SODQDWLRQ              8QNQRZQ
G    7RWDOFXUUHQWDVVHWV                                                                    8QNQRZQ
H   7RWDODVVHWV                                                                            8QNQRZQ
I   3RVWSHWLWLRQSD\DEOHV H[FOXGLQJWD[HV                                                  8QNQRZQ
J   3RVWSHWLWLRQSD\DEOHVSDVWGXH H[FOXGLQJWD[HV                                         8QNQRZQ
K   3RVWSHWLWLRQWD[HVSD\DEOH                                                              8QNQRZQ
L   3RVWSHWLWLRQWD[HVSDVWGXH                                                             8QNQRZQ
M   7RWDOSRVWSHWLWLRQGHEW IK                                                           8QNQRZQ
N   3UHSHWLWLRQVHFXUHGGHEW                                                               8QNQRZQ
O   3UHSHWLWLRQSULRULW\GHEW                                                               8QNQRZQ
P 3UHSHWLWLRQXQVHFXUHGGHEW                                                                8QNQRZQ
Q   7RWDOOLDELOLWLHV GHEW  MNOP                                                       
R   (QGLQJHTXLW\QHWZRUWK HQ                                                            8QNQRZQ

Part 3: Assets Sold or Transferred                                               Current Month           Cumulative


D   7RWDOFDVKVDOHVSULFHIRUDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
     FRXUVHRIEXVLQHVV                                                                     8QNQRZQ
E   7RWDOSD\PHQWVWRWKLUGSDUWLHVLQFLGHQWWRDVVHWVEHLQJVROGWUDQVIHUUHG
     RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                                                8QNQRZQ
F   1HWFDVKSURFHHGVIURPDVVHWVVROGWUDQVIHUUHGRXWVLGHWKHRUGLQDU\
                                                                                          8QNQRZQ
     FRXUVHRIEXVLQHVV DE

Part 4: Income Statement (Statement of Operations)                               Current Month           Cumulative
 1RWJHQHUDOO\DSSOLFDEOHWR,QGLYLGXDO'HEWRUV6HH,QVWUXFWLRQV
D *URVVLQFRPHVDOHV QHWRIUHWXUQVDQGDOORZDQFHV                                                       
E   &RVWRIJRRGVVROG LQFOXVLYHRIGHSUHFLDWLRQLIDSSOLFDEOH                            8QNQRZQ
F   *URVVSURILW DE                                                                       8QNQRZQ
G   6HOOLQJH[SHQVHV                                                                        8QNQRZQ
                                                                                                           
H   *HQHUDODQGDGPLQLVWUDWLYHH[SHQVHV
I   2WKHUH[SHQVHV                                                                          8QNQRZQ
J   'HSUHFLDWLRQDQGRUDPRUWL]DWLRQ QRWLQFOXGHGLQE                                    8QNQRZQ
K   ,QWHUHVW                                                                                8QNQRZQ
L   7D[HV ORFDOVWDWHDQGIHGHUDO                                                        8QNQRZQ
M   5HRUJDQL]DWLRQLWHPV                                                                    8QNQRZQ
N   3URILW ORVV                                                                            8QNQRZQ


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         [FL[
         F
F       $OOSURIHVVLRQDOIHHVDQGH[SHQVHV GHEWRU FRPPLWWHHV




Part 6: Postpetition Taxes                                                               Current Month            Cumulative

D   3RVWSHWLWLRQLQFRPHWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                  8QNQRZQ
E   3RVWSHWLWLRQLQFRPHWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                     8QNQRZQ
F   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVDFFUXHG                                                   8QNQRZQ
G   3RVWSHWLWLRQHPSOR\HUSD\UROOWD[HVSDLG                                                      8QNQRZQ
H   3RVWSHWLWLRQSURSHUW\WD[HVSDLG                                                              8QNQRZQ
I   3RVWSHWLWLRQRWKHUWD[HVDFFUXHG ORFDOVWDWHDQGIHGHUDO                                   8QNQRZQ
J   3RVWSHWLWLRQRWKHUWD[HVSDLG ORFDOVWDWHDQGIHGHUDO                                      8QNQRZQ

Part 7: Questionnaire - During this reporting period:

D   :HUHDQ\SD\PHQWVPDGHRQSUHSHWLWLRQGHEW" LI\HVVHH,QVWUXFWLRQV        <HV        1R
E   :HUHDQ\SD\PHQWVPDGHRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV                <HV        1R
     ZLWKRXWFRXUWDSSURYDO" LI\HVVHH,QVWUXFWLRQV
F   :HUHDQ\SD\PHQWVPDGHWRRURQEHKDOIRILQVLGHUV"                           <HV        1R
G   $UH\RXFXUUHQWRQSRVWSHWLWLRQWD[UHWXUQILOLQJV"                           <HV        1R
H   $UH\RXFXUUHQWRQSRVWSHWLWLRQHVWLPDWHGWD[SD\PHQWV"                       <HV        1R
I   :HUHDOOWUXVWIXQGWD[HVUHPLWWHGRQDFXUUHQWEDVLV"                        <HV        1R
J   :DVWKHUHDQ\SRVWSHWLWLRQERUURZLQJRWKHUWKDQWUDGHFUHGLW"                <HV        1R
     LI\HVVHH,QVWUXFWLRQV
K   :HUHDOOSD\PHQWVPDGHWRRURQEHKDOIRISURIHVVLRQDOVDSSURYHGE\           <HV        1R      1$
     WKHFRXUW"
L   'R\RXKDYH           :RUNHU VFRPSHQVDWLRQLQVXUDQFH"                      <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            &DVXDOW\SURSHUW\LQVXUDQFH"                         <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
                            *HQHUDOOLDELOLW\LQVXUDQFH"                          <HV        1R
                                 ,I\HVDUH\RXUSUHPLXPVFXUUHQW"                <HV        1R      1$     LIQRVHH,QVWUXFWLRQV
M   +DVDSODQRIUHRUJDQL]DWLRQEHHQILOHGZLWKWKHFRXUW"                       <HV        1R
N   +DVDGLVFORVXUHVWDWHPHQWEHHQILOHGZLWKWKHFRXUW"                         <HV        1R
O   $UH\RXFXUUHQWZLWKTXDUWHUO\867UXVWHHIHHVDV                           <HV        1R
     VHWIRUWKXQGHU86&"




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Part 8: Individual Chapter 11 Debtors (Only)

D      *URVVLQFRPH UHFHLSWV IURPVDODU\DQGZDJHV                                                               
E      *URVVLQFRPH UHFHLSWV IURPVHOIHPSOR\PHQW                                                                
F      *URVVLQFRPHIURPDOORWKHUVRXUFHV                                                                         
G      7RWDOLQFRPHLQWKHUHSRUWLQJSHULRG DEF                                                                 
H      3D\UROOGHGXFWLRQV                                                                                          
I      6HOIHPSOR\PHQWUHODWHGH[SHQVHV                                                                            
J      /LYLQJH[SHQVHV                                                                                             
K      $OORWKHUH[SHQVHV                                                                                          
L      7RWDOH[SHQVHVLQWKHUHSRUWLQJSHULRG HIJK                                                             
M      'LIIHUHQFHEHWZHHQWRWDOLQFRPHDQGWRWDOH[SHQVHV GL                                                     
N      /LVWWKHWRWDODPRXQWRIDOOSRVWSHWLWLRQGHEWVWKDWDUHSDVWGXH                                           
O $UH\RXUHTXLUHGWRSD\DQ\'RPHVWLF6XSSRUW2EOLJDWLRQVDVGHILQHGE\            <HV       1R
   86& $ "
P ,I\HVKDYH\RXPDGHDOO'RPHVWLF6XSSRUW2EOLJDWLRQSD\PHQWV"                      <HV       1R        1$

                                                     Privacy Act Statement
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DQG7KH8QLWHG6WDWHV7UXVWHHZLOOXVHWKLVLQIRUPDWLRQWRFDOFXODWHVWDWXWRU\IHHDVVHVVPHQWVXQGHU
86& D  7KH8QLWHG6WDWHV7UXVWHHZLOODOVRXVHWKLVLQIRUPDWLRQWRHYDOXDWHDFKDSWHUGHEWRU VSURJUHVV
WKURXJKWKHEDQNUXSWF\V\VWHPLQFOXGLQJWKHOLNHOLKRRGRIDSODQRIUHRUJDQL]DWLRQEHLQJFRQILUPHGDQGZKHWKHUWKHFDVHLV
EHLQJSURVHFXWHGLQJRRGIDLWK7KLVLQIRUPDWLRQPD\EHGLVFORVHGWRDEDQNUXSWF\WUXVWHHRUH[DPLQHUZKHQWKHLQIRUPDWLRQ
LVQHHGHGWRSHUIRUPWKHWUXVWHH VRUH[DPLQHU VGXWLHVRUWRWKHDSSURSULDWHIHGHUDOVWDWHORFDOUHJXODWRU\WULEDORUIRUHLJQ
ODZHQIRUFHPHQWDJHQF\ZKHQWKHLQIRUPDWLRQLQGLFDWHVDYLRODWLRQRUSRWHQWLDOYLRODWLRQRIODZ2WKHUGLVFORVXUHVPD\EH
PDGHIRUURXWLQHSXUSRVHV)RUDGLVFXVVLRQRIWKHW\SHVRIURXWLQHGLVFORVXUHVWKDWPD\EHPDGH\RXPD\FRQVXOWWKH
([HFXWLYH2IILFHIRU8QLWHG6WDWHV7UXVWHH VV\VWHPVRIUHFRUGVQRWLFH867%DQNUXSWF\&DVH)LOHVDQG$VVRFLDWHG
5HFRUGVSee)HG5HJHWVHT 2FW $FRS\RIWKHQRWLFHPD\EHREWDLQHGDWWKHIROORZLQJOLQNKWWS
ZZZMXVWLFHJRYXVWHRUXOHVBUHJXODWLRQVLQGH[KWP)DLOXUHWRSURYLGHWKLVLQIRUPDWLRQFRXOGUHVXOWLQWKHGLVPLVVDORU
FRQYHUVLRQRI\RXUEDQNUXSWF\FDVHRURWKHUDFWLRQE\WKH8QLWHG6WDWHV7UXVWHH86& E  ) 


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



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6LJQDWXUHRI5HVSRQVLEOH3DUW\                                                  3ULQWHG1DPHRI5HVSRQVLEOH3DUW\

5HFHLYHU                                                                        
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            Exhibit 3
                      (the LMA)
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                                                                        EXECUTION VERSION

              LOCAL PROGRAMMING AND MARKETING AGREEMENT

        THIS LOCAL PROGRAMMING AND MARKETING AGREEMENT (this
“Agreement”) is made as of March 15, 2021 by and between W. LAWRENCE PATRICK
(“Licensee”), solely in his capacity as court-appointed receiver for certain radio station-related
assets previously owned and operated by Silver State Broadcasting LLC, Golden State
Broadcasting LLC and Major Market Radio LLC (collectively, the “Prior Owners”), and VCY
AMERICA, INC., Wisconsin non-profit corporation (“Programmer”).

                                            RECITALS

       WHEREAS, Licensee was appointed as receiver for certain radio station-related assets
previously owned and operated by the Prior Owners pursuant to the Order Appointing W.
Lawrence Patrick as Receiver in Aid of Post-Judgment Execution entered into on July 6, 2020
and issued by the United States District Court Central District of California (the “Court”) in WB
Music Corp., et al., v. Royce International Broadcasting Corp., et. al., Case No: 5:16-cv-00600-
JGB (SPx) (the “Receivership Order”).

        WHEREAS, subject to the Receivership Order, Licensee holds the licenses and
authorizations issued by the Federal Communications Commission (“FCC”) for the operation of
the following radio broadcast stations (collectively, the “Stations”):
                 KRCK-FM, Mecca, California (FCC Facility ID No. 52808)
                KREV(FM), Alameda, California (FCC Facility ID No. 36029)
              KFRH(FM), North Las Vegas, Nevada (FCC Facility ID No. 19062);

        WHEREAS, Programmer is the licensee of numerous radio stations, including
KVCC(FM), Tucson, AZ (FCC Facility ID No. 81952) and KVCP(FM), Phoenix, AZ (FCC
Facility ID No. 47667);

        WHEREAS, Licensee and Programmer have entered into that certain Asset Purchase
Agreement, on December 28, 2020, in which Licensee agreed to sell to Programmer, and
Programmer agreed to purchase from Licensee, the assets used or held for use in the operations
of the Stations (the “APA”) subject to the approval of the Federal Communications Commission
(“FCC”); and

        Licensee desires to obtain programming for the Stations, and Programmer desires to
provide programming for broadcast on the Stations, on the terms and conditions set forth in
herein.

                                          AGREEMENT

       NOW, THEREFORE, taking the foregoing recitals into account, and in consideration of
the mutual covenants and agreements contained herein and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties,
intending to be legally bound, hereby agree as follows:
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        1.      Term. The term of this Agreement (the “Term”) will begin as of the date hereof
(the “Commencement Date”) and will continue for a period of twelve (12) months thereafter,
unless earlier terminated in accordance with the terms of Section 12 of this Agreement (or
extended by mutual written agreement) or extended by mutual written agreement of the parties.

        2.      Programming. During the Term, Licensee shall make available to Programmer all
of the airtime on the Stations (including the primary and all secondary program streams and
ancillary uses) for programming provided by Programmer (the “Programs”) for broadcast
twenty-four (24) hours per day, seven (7) days per week, excluding at Licensee’s option the
period from 6:00 a.m. to 8:00 a.m. each Sunday morning (the “Broadcasting Period”). During
the Term, Programmer will transmit the Programs to the Stations’ transmitting facilities and
Licensee shall broadcast the Programs on the Stations, subject to the provisions of Section 5
below.

        3.      Advertising; Collection of Accounts Receivable. During the Term, Programmer
will be exclusively responsible for the sale of advertising on the Stations and for the collection of
accounts receivable (“Receivables”) arising therefrom, and shall be entitled to all such
Receivables of the Stations. Any Receivables or other revenues accrued prior to the
Commencement Date, regardless of when paid or collected, shall belong to the Licensee (“Pre-
LMA Revenues”). Programmer shall collect any Pre-LMA Revenues received at the Stations on
behalf of Seller without commission or compensation, and remit to Seller such Revenues
beginning on the tenth (10th) day of the calendar month following the Commencement Date, and
continuing on the 10th day of each month thereafter for the remainder of the Term.

        4.     Payments. For the broadcast of the Programs and the other benefits made
available to Programmer pursuant to this Agreement, during the Term, Programmer will pay
Licensee in accordance with the terms set forth on Schedule A attached hereto. To the extent
reasonably necessary to perform this Agreement, during the Term, Licensee shall provide
Programmer with the benefits of any of the Stations’ contracts and agreements and Programmer
shall perform the obligations of Licensee thereunder, to the extent of the benefits received.

       5.      Control.

                5.1     Notwithstanding anything to the contrary in this Agreement, Licensee
shall have full authority, power and control over the policies, programming and operation of the
Stations and over all persons working at the Stations during the Term. Licensee shall bear
responsibility for the Stations’ compliance with all applicable provisions of the Communications
Act of 1934, as amended, the rules, regulations and policies of the FCC (the “FCC Rules”) and
all other applicable laws. Without limiting the generality of the foregoing, Licensee will employ
a full-time manager, who will report to Licensee and will direct the day-to-day operations of the
Stations, and who shall have no employment, consulting, or other relationship with Programmer.

               5.2    Nothing contained herein shall prevent Licensee from (a) rejecting or
refusing programs which Licensee believes to be contrary to the public interest, or (b)
substituting programs which Licensee believes to be of greater local or national importance or
which are designed to address the problems, needs and interests of the local communities.
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Licensee reserves the right to (i) refuse to broadcast any Program containing matter which
violates any right of any third party, which constitutes a personal attack, or which does not meet
FCC Rules, (ii) preempt any Program in the event of a local, state, or national emergency, or (iii)
delete any commercial announcements that do not comply with the requirements of the FCC’s
sponsorship identification policy. If Licensee preempts, rejects or otherwise refuses to broadcast
any Program, then Licensee shall broadcast substitute programming of equal or greater value to
Programmer.

               5.3     Programmer shall cooperate with Licensee to ensure that EAS
transmissions are properly performed in accordance with Licensee’s instructions and Part 11 of
the FCC’s Rules. Each party shall deliver to the other a copy of any letters of complaint it
receives with respect to any of the Stations.

           6. Programs.

               6.1     Licensee acknowledges that (a) it is familiar with the type of programming
Programmer currently produces or licenses and has determined that the broadcast of such
programming on the Stations would serve the public interest and (b) Programmer will operate the
Stations as non-commercial educational stations. Programmer shall ensure that the contents of
the Programs conform to all FCC Rules in all material respects. Programmer shall consult with
Licensee in the selection of the Programs to ensure that the Programs’ content contains matters
responsive to issues of public concern in the local communities, as those issues are made known
to Programmer by Licensee. Licensee acknowledges that its right to broadcast the Programs is
non-exclusive and that ownership of or license rights in the Programs shall be and remain vested
in Programmer.

               6.2     During the Term, Licensee and Programmer will maintain music licenses
with respect to the Stations and the Programs, as appropriate.

        7.      Expenses. During the Term, Programmer will be responsible for (a) the salaries,
taxes, insurance and related costs for all personnel used in the production of the Programs
supplied to Licensee, and (b) the costs of delivering the Programs to Licensee. Licensee will pay
for the maintenance of all studio and transmitter equipment and all other operating costs required
to be paid to maintain the Stations’ broadcast operations in accordance with FCC Rules, policies
and applicable law. Licensee will also pay for all utilities supplied to its main studio and
transmitter site. Licensee will provide all personnel necessary for the broadcast transmission of
the Programs (once received at its transmitter site) and will be responsible for the salaries, taxes,
insurance and related costs for all such personnel. Licensee will maintain throughout the Term
appropriate liability, fire and extended coverage insurance on the Stations’ main studio and
transmitting sites in such amounts as it reasonably deems appropriate.

        8.      Call Signs. During the Term, Licensee will retain all rights to the call letters of
the Stations or any other call letters that may be assigned by the FCC for use by the Stations, and
will ensure that proper station identification announcements are made with such call letters in
accordance with FCC Rules and regulations. Programmer shall include in the Programs an
announcement at the beginning of each hour of such Programs to identify such call letters, as
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well as any other announcements required by the rules and regulations of the FCC. Programmer
is authorized to use such call letters in its Programs and in any promotional material in any
media used in connection with the Programs.

        9.      Maintenance. During the Term, Licensee shall maintain the operating power of
the Stations at the operating power of the Stations as authorized by the FCC for the Stations and
shall repair and maintain the Stations’ tower and transmitter site and equipment in good
operating condition. Licensee shall use commercially reasonable efforts to provide at least forty-
eight (48) hours prior notice to Programmer in advance of any maintenance work affecting the
operation of the Stations and to schedule any such maintenance work at hours other than from
6:00 A.M. to 12:00 midnight (Monday to Sunday). If any of the Stations suffers any loss or
damage of any nature to its transmission facilities which results in the interruption of service or
the inability of any Station to operate, Licensee shall immediately notify Programmer and shall
undertake such repairs as are necessary to restore full-time operation of the applicable Station
within seven (7) days from the occurrence of any such loss or damage. In the event of any such
interruption of service, other than for routine, scheduled maintenance, the parties agree that the
Fee will be reduced by the number obtained by multiplying the Fee by a fraction, the numerator
of which is the number of hours during which service was interrupted, and the denominator of
which is the total number of hours in the month in question.

         10.    Facilities. During the Term, Licensee shall provide Programmer access to and use
of Licensee’s studio and office facilities located in the Stations’ market (for purposes of
providing the Programs). When on Licensee’s premises, Programmer shall not (a) act contrary
to the terms of any lease for such premises, (b) permit to exist any lien, claim or encumbrance on
the premises or (c) interfere with the business and operation of Licensee’s other stations or
Licensee’s use of such premises.

        11.      Representations. Programmer and Licensee each represent and warrant to the
other that (a) it has the power and authority to enter into this Agreement and to consummate the
transactions contemplated hereby, (b) it has duly authorized this Agreement, and this Agreement
is binding upon it, and (c) the execution, delivery, and performance by it of this Agreement does
not conflict with, result in a breach of, or constitute a default or ground for termination under any
agreement to which it is a party or by which it is bound.

        12.      Termination. This Agreement shall terminate: (a) upon the closing of the
transactions contemplated in the APA; (b) by either party in the event of the expiration or
termination of the APA, including without limitation due to the failure of the FCC to approve
Programmer’s acquisition of the Stations, (c) by one party in an event of default as set forth in
Section 13 below by the other party; or (d) at any time by mutual agreement of the parties. If
this Agreement is terminated for any reason, the parties agree to cooperate with one another and
to take all actions necessary to rescind this Agreement and return the parties to the status quo
ante.




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       13.     Events of Default.

               13.1 The occurrence of any of the following will be deemed an Event of
Default by Programmer under this Agreement: (a) Programmer fails to observe or perform any
obligation contained in this Agreement in any material respect; or (b) Programmer breaches any
representation or warranty made by it under this Agreement in any material respect.

              13.2 The occurrence of the following will be deemed an Event of Default by
Licensee under this Agreement: (a) Licensee fails to observe or perform any obligation contained
in this Agreement in any material respect; or (b) Licensee breaches any representation or
warranty made by it under this Agreement in any material respect.

               13.3 Notwithstanding the foregoing, an Event of Default will not be deemed to
have occurred until fifteen (15) calendar days after the non-defaulting party has provided the
defaulting party with written notice specifying the Event of Default and such Event of Default
remains uncured. Upon the occurrence of an Event of Default, and in the absence of a timely
cure pursuant to this Section, the non-defaulting party may terminate this Agreement, effective
immediately upon written notice to the defaulting party.

       14.     Remedies Upon Default.

                14.1 Upon termination by Licensee in the Event of Default by Programmer,
Licensee shall have no further obligation to Programmer, including without limitation, (a) no
obligation to return any amounts paid by Programmer under this Agreement and no obligation to
make available to Programmer any further broadcast time or broadcast transmission facilities at
the Stations, and (b) the right to declare immediately due and payable all amounts accrued or
payable to Licensee by Programmer but not yet paid in full under this Agreement up to the
termination date, plus all of Licensee’s costs of collection, including without limitation,
Licensee’s reasonable, documented, out-of-pocket attorneys’ fees and expenses.

               14.2 Upon termination by Programmer in the Event of Default by Licensee,
Programmer shall have no further obligation to make payments under this Agreement except for
amounts due and owing for obligations or liabilities incurred prior to the date of Programmer’s
notice of termination.

       15.     Indemnification.

                  15.1 Programmer shall indemnify and hold Licensee harmless against any and
all liability arising from the broadcast of the Programs on the Stations, including without
limitation all liability for indecency, libel, slander, illegal competition or trade practice,
infringement of trademarks, trade names, or program titles, violation of rights of privacy, and
infringement of copyrights and proprietary rights or any other violation of third-party rights or
FCC rules or other applicable law.

                  15.2 Licensee shall indemnify and hold Programmer harmless against any and
all liability arising from the broadcast of Licensee’s programming on the Stations, including
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without limitation all liability for indecency, libel, slander, illegal competition or trade practice,
infringement of trademarks, trade names, or program titles, violation of rights of privacy, and
infringement of copyrights and proprietary rights or any other violation of third-party rights or
FCC rules or other applicable law.

               15.3 The indemnified party shall give prompt written notice to the
indemnifying party of any demand, suit, claim or assertion of liability by third parties or other
circumstances that could give rise to an indemnification obligation hereunder against the
indemnifying party (a “Claim”), but a failure to give or a delay in giving such notice shall not
affect the indemnified party's right to indemnification and the indemnifying party's obligation to
indemnify as set forth in this Agreement, except to the extent the indemnifying party's ability to
remedy, contest, defend or settle with respect to such Claim is thereby materially prejudiced. The
obligations and liabilities of the parties with respect to any Claim shall be subject to the
following additional terms and conditions:

                       (a)    The indemnifying party shall have the right to undertake, by
counsel or other representatives of its own choosing, the defense or opposition to such Claim.

                        (b)    In the event that the indemnifying party shall elect not to undertake
such defense or opposition, or, within twenty (20) days after written notice (which shall include
sufficient description of background information explaining the basis for such Claim) of any
such Claim from the indemnified party, the indemnifying party shall fail to undertake to defend
or oppose, the indemnified party (upon further written notice to the indemnifying party) shall
have the right to undertake the defense, opposition, compromise or settlement of such Claim, by
counsel or other representatives of its own choosing, on behalf of and for the account and risk of
the indemnifying party (subject to the right of the indemnifying party to assume defense of or
opposition to such Claim at any time prior to settlement, compromise or final determination
thereof).

                         (c)     Anything herein to the contrary notwithstanding (i) the
indemnified party shall have the right, at its own cost and expense, to participate in the defense,
opposition, compromise or settlement of the Claim, (ii) the indemnifying party shall not, without
the indemnified party's written consent, settle or compromise any Claim or consent to entry of
any judgment, unless (y) the indemnifying party pays all amounts in full and (z) such judgment,
settlement or compromise includes the giving by the claimant to the indemnified party of a
release from all liability in respect of such Claim, and (iii) in the event that the indemnifying
party undertakes defense of or opposition to any Claim, the indemnified party, by counsel or
other representative of its own choosing and at its sole cost and expense, shall have the right to
consult with the indemnifying party and its counsel or other representatives concerning such
Claim and the indemnifying party and the indemnified party and their respective counsel or other
representatives shall cooperate in good faith with respect to such Claim.

                15.4    The obligations under this Section shall survive any termination of this
Agreement.



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        16.      Assignment. Neither party may assign this Agreement without the prior written
consent of the other party hereto. The terms of this Agreement shall bind and inure to the benefit
of the parties’ respective successors and any permitted assigns, and no assignment shall relieve
any party of any obligation or liability under this Agreement. Nothing in this Agreement
expressed or implied is intended or shall be construed to give any rights to any person or entity
other than the parties hereto and their successors and permitted assigns.

        17.      Severability. If any court or governmental authority holds any provision in this
Agreement invalid, illegal, or unenforceable under any applicable law, then so long as no party is
deprived of the benefits of this Agreement in any material respect, this Agreement shall be
construed with the invalid, illegal or unenforceable provision deleted and the validity, legality
and enforceability of the remaining provisions contained herein shall not be affected or impaired
thereby. The obligations of the parties under this Agreement are subject to FCC Rules and all
other applicable laws. The parties agree that Licensee may file a copy of this Agreement with
the FCC, and that Licensee shall place a copy of this Agreement in each Station’s public
inspection file.

        18.    Notices. Any notice pursuant to this Agreement shall be in writing and shall be
deemed delivered on the date of personal delivery or confirmed email transmission or confirmed
delivery by a nationally recognized overnight courier service, or on the third day after prepaid
mailing by certified U.S. mail, return receipt requested, and shall be addressed as follows (or to
such other address as any party may request by written notice in accordance with the terms of
this Section 18):

If to Licensee:                       W. Lawrence Patrick, Receiver
                                      199 Carter View Drive
                                      Cody, WY 82414
                                      Email: larry@patcomm.com


With a copy (which shall not
 constitute notice) to:               Sciarrino & Shubert, PLLC
                                      330 Franklin Road
                                      Ste. 135A-133
                                      Brentwood, TN 37027-3280
                                      Attn: Dawn M. Sciarrino, Esq.
                                      Email: dawn@sciarrinolaw.com

If to Programmer:                     VCY America, Inc.
                                      3434 W. Kilbourn Ave.
                                      Milwaukee, WI 53208
                                      Attention: James R. Schneider, Executive Director
                                      Email: jims@vcyamerica.org




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With a copy (which shall not
 constitute notice) to:               Wiley Rein LLP
                                      1776 K Street, N.W.
                                      Washington, DC 20006
                                      Attention: Wayne Johnsen and K. Dickerson
                                      Email: WJohnsen@wiley.law and
                                      KDickerson@wiley.law

       19.     Miscellaneous. This Agreement may be executed in separate counterparts, each
of which will be deemed an original and all of which together will constitute one and the same
agreement. No amendment, modification or waiver of compliance with any provision hereof or
consent pursuant to this Agreement shall be effective unless evidenced by an instrument in
writing signed by the party against whom enforcement of such amendment, waiver, or consent is
sought. This Agreement is not intended to be, and shall not be construed as, an agreement to
form a partnership, agency relationship, or joint venture between the parties. Neither party shall
be authorized to act as an agent of or otherwise to represent the other party. The construction
and performance of this Agreement shall be governed by the laws of the state of California
without giving effect to the choice of law provisions thereof. This Agreement (including the
Schedule hereto) constitutes the entire agreement and understanding among the parties hereto
with respect to the subject matter hereof, and supersedes all prior agreements and understandings
with respect to the subject matter hereof.

       20.      Certifications. Licensee certifies that it maintains ultimate control over the
Stations’ facilities including, specifically, control over the Stations’ finances, personnel and
programming. Programmer certifies that this Agreement complies with the provisions of 47
C.F.R. Sections 73.3555(a) and (c).

                               [SIGNATURE PAGE TO FOLLOW]


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                                         SCHEDULE A

        Programmer shall pay Licensee the sum of Five Thousand Dollars ($5,000.00) per month
during the Term (the “Fee”). The Fees due to Licensee during the Term shall be paid monthly
beginning on the tenth (10th) business day of the month following the Commencement Date, with
any partial month prorated accordingly, and on the tenth (10th) business day of every month
thereafter for the remainder of the Term. In the event the FCC denies the application for the
assignment of the Stations’ licenses by Licensee to Programmer (the “Assignment Application”),
all accrued Fees under this Agreement shall be due and payable within fifteen (15) days of the
FCC’s order denying the Assignment Application. In the event this Agreement is terminated by
either party upon the expiration or termination of the APA for a reason other than the FCC’s
denial of the Assignment Application, all accrued Fees under this Agreement shall be due and
payable within fifteen (15) days of the termination of this Agreement (subject to the conditions
of Section 13 above).

         In addition to the Fee, during the Term, Programmer shall reimburse Licensee on a
monthly basis in arrears for all reasonable operating expenses of the Stations incurred by
Licensee in the ordinary course of business and consistent with industry custom (taking into
account this Agreement, the services provided hereunder, and the Stations’ expenses paid
directly by Programmer in performing this Agreement) (“Reimbursable Expenses”). Licensee
shall submit to Programmer a written reimbursement request supported by appropriate
documentation of expenses (“Reimbursement Request”) on the first (1st) business day of each
month. Programmer shall reimburse Licensee on a monthly basis on the tenth (10th) business day
of the month, following receipt of a Reimbursement Request from Licensee, beginning with the
first (1st) month following the Commencement Date, and continuing for the remainder of the
Term.

       Such Reimbursable Expenses shall include, without limitation:

                (a)  all maintenance, power, electric and other utility bills (i.e., for gas
       and water) associated with the operation of the Stations’ transmission and tower
       facilities;

               (b)    income, gross receipts, excise, real estate, personal property and
       sales taxes related to the ownership of the assets used in connection with the
       operation of the Stations; and

            (c)       all music licensing fees, including the fees of ASCAP, BMI and
       SESAC.

      Programmer’s payment to Licensee for the Reimbursable Expenses shall coincide with
payment of the Fee (monthly, on the tenth (10th) business day of every month).

        Notwithstanding anything set forth herein to the contrary, Licensee shall be responsible
for any capital expenses or other expenses incurred by Licensee to bring the Stations into
compliance with FCC Rules, and Programmer shall have no obligation to reimburse such costs.
